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 VII. REVIEW AND ANALYSIS OF ESTATE CAUSES OF ACTION IMPLICATED
 BY AFFILIATE TRANSACTIONS AND THE RELATIONSHIP AND COURSE OF
 DEALING AMONG RESCAP, AFI, ALLY BANK, AND CERBERUS
 K. ESTATE CAUSES OF ACTION ARISING OUT OF RESCAP’S TAX SHARING
    ARRANGEMENTS AND RESCAP’S CONVERSION TO DISREGARD ENTITY
    STATUS
      Section VII contains an analysis of various Estate causes of action arising from Affiliate
 Transactions and the relationship and course of dealing among ResCap, AFI, Ally Bank, and
 Cerberus. In general, the legal analysis in Section VII is organized and presented on a “cause
 of action by cause of action” basis, whereby the Examiner identifies a specific cause of action
 and then analyzes all transactions that may give rise to such a claim.
      This Section, however, which addresses potential “tax-related” claims and causes of
 action, is presented differently. Instead of presenting the tax claims by cause of action, they
 are presented on a “transaction by transaction” basis, whereby the Examiner identifies a
 specific tax-related transaction and then analyzes all potential claims arising from it. The
 Examiner believes this approach is particularly appropriate here because of: (1) the unique
 nature of certain of the tax claims, which do not fit squarely into any of the standard causes of
 action; and (2) the interplay and interdependency between certain of the claims.
      Although several transactions are analyzed below, the primary focus of this Section is on
 ResCap’s entry into a tax allocation agreement that was effective beginning in the 2009 tax
 year. As described below, the Examiner has concluded that, while a close question, it is more
 likely than not that a first version of the tax allocation agreement (i.e., the First 2009 Tax
 Allocation Agreement), that was approved by the ResCap Board and signed by AFI, is an
 enforceable contract, despite not having been signed by a ResCap officer. The Examiner has
 also concluded that it is likely that a second version of the tax allocation agreement (i.e., the
 Second 2009 Tax Allocation Agreement), that was signed by both AFI and ResCap and that
 purports to supersede the First 2009 Tax Allocation Agreement, may be avoided as a
 constructive fraudulent transfer. Based on the Examiner’s conclusions, ResCap may have a
 contractual claim against AFI under the First 2009 Tax Allocation Agreement based on AFI’s
 use of ResCap’s tax benefits that have passed since the 2009 tax year. As discussed below,
 ResCap’s contract claim against AFI could be as much as $1.77 billion, depending on how
 much of ResCap’s tax benefits AFI ultimately uses.
      1. ResCap’s 2006 Conversion To A Limited Liability Company And Election To Become
         A Disregarded Entity For Tax Purposes
       As described in Section V.D.3, on October 24, 2006 ResCap converted from a
 corporation to a single member limited liability company and initially chose to continue to be
 treated as a corporation for tax purposes. In November 2006, ResCap changed its tax
 classification to a disregarded entity effective November 21, 2006.1 A disregarded entity does
 not pay federal income taxes. Instead, it is treated as a branch or division of its member who
 1   Notably, a limited liability company’s member must consent to the company’s election to be treated as a
     disregarded entity. See Treas. Reg. § 301.7701-3(c)(2) (2006).

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 reports its income or losses on its own income tax returns. As a result of ResCap’s conversion
 to a single member limited liability company and related election to be treated as a
 disregarded entity, ResCap was no longer a taxpayer and lost the ability to use its tax
 attributes, including its NOLs. As described in Section V.D.2.c(2), since the 2006 election,
 ResCap has generated large NOLs that have passed to AFI.2 The Examiner has analyzed
 whether there are any claims for fraudulent conveyance, unjust enrichment, or breach of
 fiduciary duty arising from ResCap’s 2006 conversion and election to be treated as a
 disregarded entity. For the reasons described below, the Examiner concludes it is unlikely that
 claims for fraudulent conveyance, unjust enrichment, and breach of fiduciary duty related to
 the 2006 conversion and election would prevail.

               a. Fraudulent Conveyance

                    (1) Significance Of The Choice Of Law Analysis

      The Bankruptcy Code imposes a time limitation (sometimes referred to as a look-back
 period) on the avoidance of fraudulent transfers. A debtor may only avoid a constructively
 fraudulent transfer under section 548 of the Bankruptcy Code if the transfer was made within
 two years of the date of the debtor’s bankruptcy filing. Because ResCap elected to become a
 disregarded entity more than five years prior to the Petition Date, section 548 of the
 Bankruptcy Code does not provide a basis to avoid that transaction, even if the remaining
 elements of a fraudulent transfer could be established. However, section 544(b) of the
 Bankruptcy Code permits a trustee to bring a state law fraudulent conveyance action.3

      As described in Section VII.F.2.a(1), New York’s choice of law rules will apply to
 determine which state law would govern a constructive fraudulent transfer claim brought in
 the Bankruptcy Court. “The first step of New York’s choice-of-law rules is to determine
 whether there is an actual conflict between the laws of the jurisdictions involved.”4 In the
 absence of an actual conflict, New York law will apply.5

      In determining whether a conflict exists, the potentially relevant jurisdictions, other than
 New York, are Minnesota and Delaware. As further described in Section VII.F.2.a(1), under
 the “greatest interest” analysis, courts will look to the location of the transferor-debtor based
 on its principal place of business and state of incorporation. ResCap is incorporated in
 Delaware, and its principal place of business is located in Minnesota (and was located there
 during the relevant time periods). Notably, little weight will be given to a debtor’s state of
 2   AFI was itself a pass-through entity until it elected to be taxed as a corporation as of July 1, 2009. Prior to this
     election, ResCap’s NOLs passed through AFI and up to GM and Cerberus.
 3   See Picard v. Chais (In re Bernard L. Madoff Inv. Secs. LLC), 445 B.R. 206, 231–32 (Bankr. S.D.N.Y. 2011).
 4   Paradigm BioDevices, Inc. v. Viscogliosi Bros., LLC, 842 F. Supp. 2d 661, 665 (S.D.N.Y. 2012) (citing
     Drenis v. Haligiannis, 452 F. Supp. 2d 418, 426 (S.D.N.Y. 2006) (quoting In re Allstate Ins. Co., 613 N.E.2d
     936, 937 (N.Y. 1993))).
 5   See Paradigm BioDevices, Inc., 842 F. Supp. 2d at 665–65.

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 incorporation unless the transaction at issue has some other nexus with that state.6 Here,
 however, the 2006 election transaction involved ResCap changing its corporate and tax status.
 By its very nature, the transaction implicates Delaware’s corporate law.

      Both Delaware and Minnesota fraudulent transfer law are derived from the UFTA, while
 New York fraudulent transfer law is derived from the UFCA. Although, as described in
 Section VII.F, there are certain material differences between the UFTA and UFCA, here the
 result of the fraudulent transfer analysis will be the same regardless of which state’s law
 applies. As described in more detail in Sections VII.K.1.a(2)(a) and VI, the Examiner
 concludes that ResCap was solvent when it elected to be treated as a disregarded entity for tax
 purposes in November 2006. And, as discussed below, ResCap received fair consideration in
 connection with its election to be treated as a disregarded entity. Therefore, none of the
 material differences between the fraudulent transfer laws of Minnesota, Delaware, or New
 York are relevant or outcome determinative to this analysis. Where the issue in dispute
 “would turn out the same under both forums’ law . . . no true conflict exists.”7 Based on the
 foregoing, the Examiner believes it is appropriate to analyze ResCap’s tax election under New
 York’s fraudulent conveyance law.

       With respect to statute of limitations, under New York’s “borrowing statute,” the
 Bankruptcy Court would apply the shorter of New York’s statute of limitations or that of the
 state in which the plaintiff resides.8 Residency in this context has generally been held to be a
 business entity’s principal place of business.9 Again, ResCap’s principal place of business is
 located in Minnesota, which has a six-year statute of limitations.10 New York also has a six-
 year statute of limitations.11 Accordingly, a state law fraudulent transfer claim brought under
 section 544(b) of the Bankruptcy Code would not be time-barred.
 6    See Savage & Assoc. v. Mandl (In re Teligent, Inc.), 380 B.R. 324, 332 n.6 (in conducting a choice-of-law
      interest analysis, holding the state of the debtor’s incorporation—Delaware—inapplicable to a fraudulent
      transfer claim since the fraudulent transfer occurred in another jurisdiction); Faulkner v. Kornman (In re
      Heritage Org., L.L.C.), 413 B.R. 438, 462 (Bankr. N.D. Tex. 2009) (in conducting a “most significant factor”
      choice-of-law analysis, holding Delaware fraudulent transfer law inapplicable because the “only connection
      the Trustee’s fraudulent transfer claims have to Delaware is that [transferor] and the [transferees] are
      Delaware entities”); Official Comm. of Asbestos Pers. Injury Claimants v. Sealed Air Corp. (In re W.R.
      Grace & Co.), 281 B.R. 852, 855 (Bankr. D. Del. 2002) (in choice-of-law analysis, holding Delaware
      fraudulent transfer law inapplicable because “Delaware’s only contact with this matter is that it is the state of
      incorporation of the transferee and the subsidiary that is the subject of this fraudulent transfer action”).
 7    Elgin Sweeper Co. v. Melson Inc., 884 F. Supp. 641, 648 (N.D.N.Y. 1994) (citing Howard v. Clifton
      Hydraulic Press Co., 830 F. Supp. 708, 712 (E.D.N.Y. 1993)).
 8    See Adelphia Commn’cs Corp. v. Bank of Am. N.A. (In re Adelphia Commn’cs Corp.), 365 B.R. 24, 57–58
      (Bankr. S.D.N.Y. 2007).
 9    See, e.g., Official Comm. of Asbestos Claimants of G-I Holding, Inc. v. Heyman, 277 B.R. 20, 30 (S.D.N.Y.
      2002); In re Adelphia Commn’cs Corp., 365 B.R. at 58 n.137.
 10   MINN. STAT. § 541.05(6) (2013).
 11   N.Y. C.P.L.R. 213(8) (McKinney 2013).

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                     (2) ResCap’s Election To Be Treated As A Disregarded Entity Does Not Satisfy
                         The Elements Of A Fraudulent Conveyance Claim Under New York Law

      Section 544(b) provides that a trustee may avoid a transfer of a debtor’s property interest
 under applicable state law. Under New York law, a transfer is constructively fraudulent12
 where: (1) the transfer was made without fair consideration; and (2) either (a) the debtor was
 insolvent or was rendered insolvent by the transfer, (b) the debtor was left with unreasonably
 small capital, or (c) the debtor intended or believed that it would incur debts beyond its ability
 to pay as the debts matured.13

                         (a) ResCap Was Solvent At The Time Of Its Election To Be Treated As A
                             Disregarded Entity

       As an initial matter, no constructive fraudulent conveyance can be found where a
 transferor was solvent at the time it made the transfer. Insolvency under the UFCA refers to:
 (1) bankruptcy insolvency (a deficit net worth immediately after the conveyance) and
 (2) equitable insolvency (an inability to pay debts as they mature).14 Proof of insolvency can
 be demonstrated by satisfying one of the following three tests: (1) the “balance sheet” test, i.e.,
 the transferor is insolvent or will be rendered insolvent by the transfer in question;15 (2) the
 “unreasonably small capital” test, i.e., the transferor is engaged in or is about to engage in a
 business transaction for which its remaining property constitutes unreasonably small capital;16
 and (3) the “ability to pay debts” test, i.e., the transferor believes that it will incur debt beyond
 its ability to pay.17
 12   The Investigation has uncovered no evidence to suggest that any party acted with an actual intent to defraud
      ResCap’s creditors in connection with ResCap’s conversion and election to be treated as a disregarded entity.
      Accordingly, this analysis will focus on constructive fraudulent transfer only.
 13   N.Y. DEBT. & CRED. LAW §§ 273–275 (McKinney 2013). Throughout this Section, New York Debtor and
      Creditor Law provisions will be referred to using their NY DCL designations. See Section VII.F.6 (providing
      a detailed discussion of the case law regarding constructive fraudulent conveyance under New York law).
 14   See Moody v. Sec. Pac. Bus. Credit, Inc., 971 F.2d 1056, 1066, 1066 n.13 (3d Cir. 1992) (citing cases).
 15   NY DCL § 273 (“Every conveyance made and every obligation incurred by a person who is or will be thereby
      rendered insolvent is fraudulent as to creditors without regard to his actual intent if the conveyance is made or
      the obligation is incurred without a fair consideration.”).
 16   NY DCL § 274. (“Every conveyance made without fair consideration when the person making it is engaged
      or is about to engage in a business or transaction for which the property remaining in his hands after the
      conveyance is an unreasonably small capital, is fraudulent as to creditors and as to other persons who become
      creditors during the continuance of such business or transaction without regard to his actual intent.”). By its
      terms, therefore, NY DCL section 274 only applies to conveyances and therefore cannot be relied on to
      invalidate guaranties or other types of obligations. See Official Comm. of Unsecured Creditors of M.
      Fabrikant & Sons, Inc. v. JP Morgan Chase Bank, N.A. (In re M. Fabrikant & Sons, Inc.), 394 B.R. 721, 734
      n.13 (Bankr. S.D.N.Y. 2008) (“By its terms [NY DCL section 274] . . . applies to conveyances but not
      obligations, and cannot be relied on to invalidate the debtors’ loan debt or guaranties . . . .”).
 17   NY DCL § 275 (“Every conveyance made and every obligation incurred without fair consideration when the
      person making the conveyance or entering into the obligation intends or believes that he will incur debts
      beyond his ability to pay as they mature, is fraudulent as to both present and future creditors.”).

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       Here, ResCap’s conversion and election to be treated as a disregarded entity occurred in
 late 2006. As discussed in Section VI, ResCap was solvent and not otherwise in financial
 distress as prescribed by applicable law in late 2006 at the time it elected treatment as a
 disregarded entity. Accordingly, it is unlikely that a claim to avoid ResCap’s election on
 constructive fraudulent conveyance grounds would prevail. Nevertheless, because: (1) there is
 always the possibility (however remote) that a court may reach a different conclusion regarding
 solvency; and (2) the election to treat ResCap as a disregarded entity resulted in it losing the
 ability to use what has turned out to be several billions of dollars of NOLs, the Examiner has
 analyzed the remainder of the elements for a fraudulent conveyance claim under New York law.
                         (b) For Avoidance Purposes, ResCap’s Tax Treatment Election Constitutes
                             Debtor’s Property
      A trustee or debtor-in-possession cannot use the strong-arm powers of section 544(b) of
 the Bankruptcy Code and avoid a transfer under state law if the threshold requirement that the
 debtor have an interest in the transferred property is not met.18 Accordingly, before considering
 the other elements of New York’s fraudulent conveyance law, a preliminary issue to consider is
 whether ResCap’s election to be treated as a disregarded entity constitutes “property of the
 debtor” under section 544.
      The term “property of the debtor” has generally been interpreted to be co-extensive with
 the term “property of the estate,” which is defined by section 541 of the Bankruptcy Code.
 “The scope of [section] 541 is very broad and includes property of all descriptions, tangible
 and intangible.”19 Moreover, an “interest [in property] is not outside its reach because it is
 novel or contingent or because enjoyment must be postponed.”20 Accordingly, a debtor’s
 property is generally understood to include all things that, if transferred to another party,
 would diminish the assets available to pay creditors.21
      Given the extremely broad scope of what constitutes a debtor’s property, courts uniformly
 hold that a debtor’s tax attributes (and the right to use those attributes) are “property of the debtor”
 for purposes of a fraudulent conveyance claim.22 A debtor’s right to elect whether to be treated as
 18   See ASARCO LLC v. Am. Mining Corp., 396 B.R. 278, 316 (S.D. Tex. 2008); Williams v. Tomer (In re
      Tomer), 147 B.R. 461, 455 (S.D. Ill. 1993).
 19   Ramsay v. Dowden (In re Cent. Ark. Broad. Co.), 68 F.3d 213, 214 (8th Cir. 1995) (internal citation omitted);
      see also Official Comm. of Unsecured Creditors of Forman Enters. v. Forman (In re Forman Enters.), 281
      B.R. 600, 611 (Bankr. W.D. Pa. 2002) (citing United States v. Whiting Pools, 462 U.S. 198, 205 n.9
      (1983)) (“[t]he legislative history of § 541(a) indicates that it is expansive and includes ‘all kinds of property,
      including tangible or intangible property, causes of action . . . and all other forms of property . . . .’”).
 20   United States v. Towers (In re Feiler), 230 B.R. 164, 167 (B.A.P. 9th Cir. 1999) (citing Neuton v. Danning (In
      re Neuton), 922 F.2d 1379, 1382 (9th Cir. 1990) (internal citation omitted)).
 21   In re Forman Enters., 281 B.R. at 612 (citing In re Merchants Grain, Inc., 93 F.3d 1347, 1353 (7th Cir.
      1996); In re Bullion Reserve of N.A., 836 F.2d 1214, 1217 (9th Cir. 1988)).
 22   See United States v. Sims (In re Feiler), 218 F.3d 948, 955–56 (9th Cir. 2000); Unofficial Comm. of
      Unsecured Creditors v. PSS S.S. Co. (In re Prudential Lines, Inc.), 928 F.2d 565, 571–72 (2d. Cir. 1991);
      Gibson v. United States (In re Russell), 927 F.2d 413, 417–18 (8th Cir. 1991); Parker v. Saunders (In re
      Bakersfield Westar, Inc.), 226 B.R. 227, 233–35 (B.A.P. 9th Cir. 1998); Guinn v. Lines (In re Trans-Lines W.,
      Inc.), 203 B.R. 653, 661–62 (Bankr. E.D. Tenn. 1996).

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 a taxable entity or a pass-through entity (which includes a disregarded entity) for tax purposes,
 which may have an impact on the debtor’s right to use its tax attributes, is also generally treated as
 property of the debtor.23 Accordingly, ResCap’s right to elect to become a disregarded entity
 would be treated as “property of the debtor” for purposes of a fraudulent conveyance analysis.

                         (c) For Avoidance Purposes, ResCap’s Tax Treatment Election Is A
                             Conveyance

      Similar to the Bankruptcy Code’s broad definition of the term “transfer,”24 the term
 “conveyance” is broadly defined under New York DCL to include “every payment of money,
 assignment, release, transfer, lease, mortgage or pledge of tangible or intangible property, and
 also the creation of any lien or encumbrance.”

       Based on this broad definition, almost any means by which a debtor may dispose of a
 property right constitutes a conveyance for avoidance purposes. Given that a debtor has a
 property right in its tax status, courts not surprisingly conclude that elections that have an
 impact on a debtor’s tax status, which may increase debtor’s tax liability or affect a debtor’s
 ability to use its tax attributes, constitute “transfers”25 for purposes of avoidance. For example,
 in In re Trans-Lines West, Inc., the court held that the debtor corporation had a property
 interest in its subchapter S status, reasoning that the IRC affords a corporation that elects
 subchapter S-corporation status the “guaranteed, indefinite right to use, enjoy and dispose of
 that status.”26 The court thus held that “the [d]ebtor’s prepetition revocation of its subchapter S
 status constitute[d] a ‘transfer’” for avoidance purposes.27

     Similarly, in In re Bakersfield Westar, Inc., the United States Court of Appeals for the
 Ninth Circuit held that a shareholder’s prepetition revocation of a debtor’s subchapter S status
 23   See In re Bakersfield Westar, Inc., 226 B.R. at 233–34 (finding that debtor’s right to make or revoke its
      subchapter S status is property of the estate); Frank Funaro Inc. v. Funaro (In re Frank Funaro Inc.), 263
      B.R. 892, 898 (B.A.P. 8th Cir. 2001) (adopting Bakersfield for proposition that debtor has property interest in
      S-corporation status); In re Trans-Lines W., Inc., 203 B.R. at 661–62 (finding that an S-corporation’s tax
      status constitutes property interest under the Bankruptcy Code).
 24   The Bankruptcy Code’s definition of a transfer includes “each mode, direct or indirect, absolute or
      conditional, voluntary or involuntary, of disposing of or parting with . . . property; or . . . an interest in
      property.” 11 U.S.C. § 101(54)(D) (2012); see also Barnhill v. Johnson, 503 U.S. 393, 400 (1992) (“We
      acknowledge that § 101(54) adopts an expansive definition of transfer”).
 25   The Investigation has not turned up any cases addressing whether a company’s tax election is a “conveyance”
      under New York state fraudulent conveyance law. However, several cases have addressed whether a debtor’s
      tax election is a “transfer” under federal bankruptcy law. Courts have held that a transaction that would
      constitute a “transfer” under the Bankruptcy Code would also constitute a “conveyance” under the UFCA.
      See, e.g., In re Trans-Lines W., Inc., 203 B.R. at 664 (“Given that it has already been determined that the
      Debtor’s revocation of its Subchapter S status constituted a ‘transfer’ under the Bankruptcy Code, the court
      does not see why the same act would not constitute a ‘conveyance’ under [the UFCA]”). Accordingly, the
      cases cited in this Section are instructive, and the reasoning of the cases should apply with equal force to an
      analysis under New York fraudulent conveyance law.
 26   Id. at 661.
 27   Id. at 663.

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 constituted a “transfer” that could be avoided as a fraudulent conveyance.28 The court
 reasoned that the revocation of the debtor’s subchapter S-corporation status caused the debtor
 to “dispose” of its right to pass its tax liabilities through to the debtor’s principals.29
 Accordingly, the court concluded that, by electing to revoke the debtor’s subchapter
 S-corporation status, the shareholder transferred a heavy tax burden to the bankruptcy estate
 and thereby diminished the assets available to satisfy the claims of creditors.30
      More recently, in In re Majestic Star Casino, LLC, the Bankruptcy Court for the District
 of Delaware considered whether a non-debtor parent’s revocation of its subchapter
 S-corporation election, which resulted in the termination of its subsidiary debtor’s pass-
 through tax status, was an avoidable transfer.31 In concluding that the revocation was in fact a
 transfer, the court relied on the broad definition of transfer as set forth in the Bankruptcy Code
 as well as the decisions by the courts in In re Bakersfield Westar, Inc. and In re Trans-Lines
 West, Inc. that held that the revocation of a debtor’s subchapter S-corporation election was a
 transfer of property of the estate.32
      Based on the foregoing cases, the Examiner concludes that it is likely that AFI’s consent
 and ResCap’s election to treat itself as a disregarded entity, which resulted in the forfeiture of
 the use of its future NOLs, would be deemed to be a “conveyance” for fraudulent conveyance
 purposes.
                           (d) ResCap’s Tax Treatment Election Is Not A Conveyance Made Without
                               Fair Consideration
      “Fair consideration” is expressly defined in the UFCA and, by extension, the NY DCL.
 Section 272 of the NY DCL states that:
                        Fair consideration is given for property, or obligation,
                        a. When in exchange for such property, or obligation, as a fair equivalent
                           therefor, and in good faith, property is conveyed or an antecedent debt is
                           satisfied, or
                        b. When such property, or obligation is received in good faith to secure a
                           present advance or antecedent debt in amount not disproportionately small
                           as compared with the value of the property, or obligation obtained.33
 28   In re Bakersfield Westar, Inc., 226 B.R. at 233–34.
 29   See id. at 234.
 30   See id.
 31   Majestic Star Casino LLC v. Barden Dev., Inc. (In re Majestic Star Casino, LLC), 466 B.R. 666 (Bankr. D.
      Del. 2012).
 32   Id. at 678. The ruling in In re Majestic Star Casino, LLC is currently on appeal to the United States Court of
      Appeals for the Third Circuit. Oral argument occurred on February 19, 2013. Transcript of Oral Argument,
      Majestic Star Casino LLC v. Barden Dev., Inc. (In re Majestic Star Casino, LLC), Nos. 12-3200, 3201
      (3d Cir. Feb. 19, 2013), Document 003111184937. No decision had been issued as of the date of this Report.
 33   NY DCL § 272.

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      The fair consideration test therefore requires an analysis of whether: (1) the recipient of
 the debtor’s property either (a) conveyed property in exchange, or (b) discharged an
 antecedent debt in exchange; (2) such exchange was a “fair equivalent” of the property
 received; and (3) such recipient made the exchange “in good faith.”34

      While In re Bakersfield Westar, Inc., In re Trans-Lines West, Inc., and In re Majestic Star
 Casino, LLC make clear that a debtor’s conversion from a non-taxable subchapter
 S-corporation to a taxable corporation may be an avoidable transfer, it is not clear that the
 reverse is true. Each of these decisions was premised, at least in part, on the fact that
 conversion from a non-taxable entity to a taxable entity deprived the estate of value by
 imposing a tax burden on the debtor. Indeed, these cases recognized the intrinsic value to a
 company of having pass-through tax status.35 However, where a debtor converts from a
 taxable entity to a non-taxable entity, it is not clear that the assets available to pay the debtor’s
 creditors have been diminished.

      In this case, it is difficult to see how ResCap’s election to be treated as a disregarded
 entity can, on the whole, be said to have deprived ResCap’s Estate of any asset or resulted in a
 loss of value. By electing to become a disregarded entity, ResCap’s unused pre-conversion
 NOLs and other tax attributes passed to GM, and its post-conversion tax attributes, including
 its NOLs, were reported by AFI and then passed to Cerberus (51%) and GM (49%).36
 However, since there was no agreement requiring ResCap to make any federal income tax
 payments to AFI,37 that election also excused ResCap from any obligation to pay federal taxes
 that it otherwise would have had to pay. Although, with the benefit of hindsight, it is now
 known that ResCap generated mostly losses following the 2006 tax year, the expectation of
 GM and AFI in 2006 was that ResCap was going to be profitable and, consequently, would
 benefit from the conversion.38



 34   Sharp Int’l Corp. v. State St. Bank & Trust Co. (In re Sharp Int’l Corp.), 403 F.3d 43, 53 (2nd Cir. 2005)
      (quoting HBE Leasing Corp. v. Frank, 61 F.3d 1054, 1058–59 (2nd Cir. 1995)).
 35   Parker v. Saunders (In re Bakersfield Westar, Inc.), 226 B.R. 227, 234 (B.A.P. 9th Cir. 1998) (“The ability to
      not pay taxes has a value to the debtor-corporation in this case.”); In re Majestic Star Casino, LLC, 466 B.R.
      at 674 (citing numerous cases for the proposition that “the ‘S’ corporation’s status is property of the estate
      because of the tax benefits that status confers on the debtor.”).
 36   See Residential Capital, LLC Rating Agency Review Presentation, dated Nov. 2006, at 8 [EXAM10124762]
      (stating that the purpose of the LLC conversion was to “obtain significant tax benefits, including . . . ResCap
      and its U.S. subsidiaries will no longer pay Federal (or most state) income taxes. Rather, ResCap’s
      shareholders (GM and other investors) will be subject to tax on the income.”).
 37   For a three-year period following ResCap’s election to be treated as a disregarded entity (from December
      2006 until November 2009), ResCap did not operate under a tax allocation agreement with respect to federal
      income taxes.
 38   See Report to the Board of Directors of Residential Capital, LLC, dated Nov. 20, 2006, at RC00016783
      [RC00016782] (stating that “[t]he present value of the ability to use GM’s tax losses to offset the taxable
      income of [ResCap] by using the LLC conversion structure has been estimated at $1.1 billion.”).

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       Moreover, in 2008, ResCap generated excess inclusion income in the approximate
 amount of $28.6 million.39 By operation of law, ResCap could not offset this income against
 its losses. Nevertheless, as a result of being a disregarded entity, ResCap did not have to pay
 federal income taxes on the excess inclusion income. Had ResCap remained a corporate
 taxpayer, ResCap would have been obligated to pay these taxes.
      In addition, at the time of ResCap’s conversion to a disregarded entity, it was a party to
 the Implemented 2005 Tax Allocation Agreement.40 ResCap’s conversion and Cerberus’s
 purchase of AFI’s equity interests resulted in termination of the agreement. However, the
 termination of that agreement does not appear to have deprived ResCap of any value.
      As described in Section V.D2.c, the Implemented 2005 Tax Allocation Agreement was
 not particularly favorable to ResCap. Under the Implemented 2005 Tax Allocation
 Agreement, ResCap was obligated to pay AFI for all tax obligations that ResCap would
 hypothetically have been required to pay on a stand-alone basis. However, ResCap’s right to
 be compensated for the use of its tax benefits by AFI was conditional and speculative. ResCap
 was compensated for the use of its tax benefits only where both GM and AFI were able to
 make use of them (although ResCap’s ability to use its tax benefits was not a condition to
 payment).
      Finally, ResCap’s conversion and disregarded entity status election were requirements of
 the Cerberus PSA and appeared to be key components of a transaction that conferred benefits
 upon all the entities involved in the Cerberus PSA, including ResCap.41
      Based on the foregoing, the Examiner concludes that ResCap’s election to be treated as a
 disregarded entity did not result in a “conveyance” for less than fair consideration that
 deprived ResCap’s Estate of assets that “otherwise could be utilized to satisfy the allowable
 claims of creditors.”42 Accordingly, the Examiner concludes that, even if there were a finding
 that ResCap was insolvent at the time of its tax election in November 2006, it is unlikely that a
 constructive fraudulent conveyance claim would prevail.
               b. Post-2006 NOL Transfers Are Not Subject To Avoidance
       An additional and related question the Examiner considered is whether ResCap’s transfer
 of its tax benefits through AFI to GM and Cerberus at the end of each taxable year subsequent
 to 2006, including years in which ResCap might have been in financial distress, might be
 subject to avoidance on fraudulent conveyance grounds. The Examiner does not believe that
 fraudulent conveyance law provides a basis to provide relief to ResCap for the loss of its tax
 39   See GMAC LLC, U.S. Return of Partnership Income (I.R.S. Form 1065) for Calendar Year 2008, at
      ALLY_03900052, 114 [ALLY_0390037].
 40   See Implemented 2005 Tax Allocation Agreement [ALLY_0178779].
 41   See Residential Capital, LLC Rating Agency Review Presentation, dated Nov. 2006, at 37 [EXAM10124762]
      (stating that Cerberus provided numerous benefits to ResCap in connection with Cerberus’s purchase of 51%
      of AFI).
 42   Official Comm. of Unsecured Creditors of Forman Enters. v. Forman (In re Forman Enters.), 281 B.R. 600,
      612 (Bankr. W.D. Penn. 2002).

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 benefits. Once ResCap elected to become a disregarded entity, ResCap’s right to use any
 future tax benefits inured to the benefit of GM and Cerberus by operation of tax law.43 As
 described below, ResCap was merely a conduit—treated under federal income tax law as a
 division of AFI—from which the tax benefits and the right to use them redounded to the
 benefit of AFI and its owners. Accordingly, no transfer of a debtor’s interest in property
 occurred.44
       A company’s election to be treated as either a taxable entity or pass-through entity
 (including a disregarded entity) for federal tax purposes does not per se determine the
 company’s ownership rights with respect to its tax attributes, including its NOLs.45 Indeed, the
 tax regulations do not expressly address a disregarded entity’s ownership rights in its tax
 attributes. The tax regulations only provide that if an “entity [LLC] is disregarded, its
 activities are treated in the same manner as a sole proprietorship, branch, or division of the
 owner.”46 Further, as described in Section VII.K.1.a(2)(b), a debtor’s tax attributes generally
 qualify as property of the estate.47 However, a company’s status as a pass-through or
 disregarded entity can affect its right to use its tax attributes. This is important because the
 transfer of property in which a debtor holds bare legal title, but no equitable interest, is not
 subject to avoidance because such a transfer does not diminish the debtor’s estate.48
      There is a glaring lack of case law addressing whether the tax attributes of a disregarded
 entity constitute “property of a debtor” for purposes of avoidance claims under the Bankruptcy
 Code. One case, however, In re Forman Enterprises, Inc., squarely addressed the issue in
 analyzing whether tax refunds received or to be received by a debtor’s parent (based on the
 carry-back of the debtor subchapter S-corporation’s NOLs) were avoidable as postpetition
 transfers under section 549 of the Bankruptcy Code.49 The court answered in the negative,
 43   See Treas. Reg. § 301.7701-2(a) (2006); see also In re Forman Enters., 281 B.R. at 612 (“Under the
      provisions of the Internal Revenue Code . . . the NOL and the right to use it automatically passed through by
      operation of law to defendants as S corporate shareholders.”).
 44   As described in Section VII.K.1.a, any fraudulent conveyance analysis under New York or other state law,
      made applicable through section 544(b) of the Bankruptcy Code, requires a showing that the debtor has an
      interest in the property being transferred (i.e., that the property transferred would qualify as “property of the
      estate” under the Bankruptcy Code). See ASARCO LLC v. Am. Mining Corp., 396 B.R. 278, 316 (S.D. Tex.
      2008); Williams v. Tomer (In re Tomer), 147 B.R. 461, 255 (S.D. Ill. 1993).
 45   In promulgating regulations under section 7701 of the IRC concerning disregarded entities, the Treasury
      Department stated that “[w]hether an organization is treated as an entity for federal tax purposes is a matter of
      federal tax law, and does not affect the rights and obligations of its owners under local law.” T.D. 8697, 1997-
      1 C.B. 215.
 46   Treas. Reg. § 301.7701-2(a) (2006) (emphasis added).
 47   See, e.g., IRS v. Luongo (In re Luongo), 259 F.3d 323, 335 (5th Cir. 2001); United States v. Towers (In re
      Feiler), 230 B.R. 164, 167–68 (B.A.P. 9th Cir. 1999).
 48   See 11 U.S.C. § 541(d) (2012); Cage v. Wyo-Ben, Inc. (In re Ramba, Inc.), 437 F.3d 457, 460 (5th Cir. 2006);
      Geremia v. Dwyer (In re Dwyer), 250 B.R. 472, 474–45 (Bankr. D.R.I. 2000); Furr v. Reynolds (In re
      Reynolds), 151 B.R. 974, 977 (Bankr. S.D. Fla. 1993).
 49   Official Comm. of Unsecured Creditors of Forman Enters. v. Forman (In re Forman Enters.), 281 B.R. 600,
      600 (Bankr. W.D. Pa. 2002).

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 finding that the requisite “transfer of a debtor’s property” did not occur.50 The court held that a
 pass-through entity’s NOLs are not property of the estate because, under the IRC, NOLs and
 the debtor’s right to use them passed through to the debtor’s shareholders by operation of law.
 Specifically, the court noted that “[a]ny tax benefits resulting from the NOL and the right to
 use it inure solely to the benefit of . . . shareholders and would not be available to satisfy
 claims of the corporation’s creditors.”51 Accordingly, the court held that the debtor, as a pass-
 through entity, was “merely a ‘conduit’ through which the NOL and right to use it passed to
 them.”52

      Under the “mere conduit” theory, property over which the debtor has no control and that
 merely “passes through” the debtor does not give rise to a transfer of an interest of the debtor
 in property for avoidance purposes under section 544 of the Bankruptcy Code, which, as
 described above, is a threshold requirement for avoidance under applicable state law.53 The
 Examiner concludes that the Forman court’s invocation of the conduit theory was proper for
 avoidance purposes and provides a sound basis to conclude that it is unlikely that a claim to
 avoid ResCap’s post-2006 transfers of its tax benefits would prevail.54

                    c. The 2006 Conversion And Election Does Not Result In Unjust Enrichment Or
                       Breach Of Fiduciary Duty

      As discussed in Section VII.I.1.b, New York choice of law principles will apply to any
 unjust enrichment claim because of the pendency of the Chapter 11 Cases in the Southern
 District of New York. In New York, “[t]he first step in any case presenting a potential choice
 of law issue is to determine whether there is an actual conflict between the laws of the
 50   Id. at 612.
 51   Id.
 52   Id.
 53   See, e.g., Miller v. Credit Suisse First Boston Next Fund, Inc. (In re Refco, Inc. Secs. Litig.), 07 MDL
      No. 1902, Nos. 09 Civ. 2885, 2990, 2992, 2009 U.S. Dist. LEXIS 129944, at *52–54 (S.D.N.Y. 2009) (noting
      that “[s]ection 541(d) of the Bankruptcy Code provides that the debtor must have an ‘equitable interest’ in
      property in order for it to become property of the estate” and that “an asset is property of the estate when the
      debtor had ‘control’ over that property”); City of Springfield v. Ostrander (In re Lan Tamers, Inc.), 329 F.3d
      204, 210 (1st Cir. 2003) (“The plain text of § 541(d) excludes property from the estate where the bankrupt
      entity is only a delivery vehicle and lacks any equitable interest in the property it delivers.”); T & B Scottsdale
      Contractors, Inc. v. United States, 866 F.2d 1372, 1376 (11th Cir. 1989) (when the debtor held funds that,
      pursuant to contract, were to be paid out to certain individuals, the debtor was simply an intermediary and the
      funds were not property of the estate).
 54   ResCap’s tax status as a disregarded entity impacts another issue that was raised during the course of the
      Investigation. It was suggested that AFI’s forgiveness of debts owed by ResCap in the aggregate amount of
      $2.4 billion from March 2008 through June 2009 and in November 2009 may have adversely affected
      ResCap’s rights under certain tax allocation agreements in place with AFI. See Capital Contributions to
      ResCap Legal Entity as of January 31, 2012 [ALLY_PEO_0075634]. Notably, all these transfers of debt from
      AFI to ResCap occurred when ResCap was a disregarded entity treated as a branch or division of AFI for
      federal income tax purposes. As a result, no debt transfers occurred for federal income tax purposes, and the
      debt forgiveness did not create income that would absorb any of ResCap’s beneficial tax attributes.

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 jurisdictions involved.”55 If the laws of the relevant jurisdictions are substantively the same, a
 court may avoid a choice of law analysis.56 Here, it appears that there is no material difference
 between the unjust enrichment law of New York57 and that of Delaware (ResCap’s state of
 incorporation),58 Minnesota (ResCap’s principal place of business)59 and Michigan (AFI’s
 principal place of business).60 Thus, the Bankruptcy Court would likely apply New York
 law.61
      Although New York’s substantive law is likely to apply to an unjust enrichment claim, as
 further discussed in Section VII.I.1.c, under New York’s “borrowing statute,” it is likely that a
 court would apply the statute of limitations in Minnesota because that was the location of
 ResCap’s principal place of business in 2006.62 In Minnesota, the statute of limitations for a
 claim of unjust enrichment is six years,63 which is the same as the statute of limitations in New
 York.64 Under a six-year statute of limitations, ResCap would not be barred from bringing a
 claim based on conduct that occurred in 2006.
 55   In re Allstate Ins. Co., 613 N.E.2d 936, 937 (N.Y. 1993). An actual conflict is present “[w]here the applicable
      law from each jurisdiction provides different substantive rules.” Curley v. AMR Corp., 153 F.3d 5, 12 (2d Cir.
      1998) (citing cases).
 56   See Curley, 153 F.3d at 12 (citing J. Aron & Co. v. Chown, 647 N.Y.S.2d 8, 8 (N.Y. App. Div. 1996)) (“It is
      only when it can be said that there is no actual conflict that New York will dispense with a choice of law
      analysis.”).
 57   In New York, a plaintiff asserting an unjust enrichment claim must establish: “(1) that the defendant
      benefitted; (2) at the plaintiff’s expense; and (3) that equity and good conscience require restitution.” Tasini v.
      AOL, Inc., 851 F. Supp. 2d 734, 739 (S.D.N.Y. 2012) (quoting Mid-Island Hosp., Inc. v. Empire Blue Cross
      Blue Shield (In re Mid-Island Hosp., Inc.), 276 F.3d 123, 129–30 (2d Cir. 2002)).
 58   In Delaware, unjust enrichment requires: “(1) an enrichment, (2) an impoverishment, (3) a relation between
      the enrichment and the impoverishment, (4) the absence of justification, and (5) the absence of a remedy
      provided by law.” Jackson Nat’l Life Ins. Co. v. Kennedy, 741 A.2d 377, 393 (Del. Ch. 1999) (footnote
      omitted). See also O’Toole v. Karnani (In re Trinsum Grp., Inc.), 460 B.R. 379, 395 (Bankr. S.D.N.Y. 2011)
      (“The elements for unjust enrichment claims under Delaware law are similar to that of New York law.”).
 59   To establish an unjust enrichment claim under Minnesota law, “a plaintiff must demonstrate ‘that another
      party knowingly received something of value to which he was not entitled, and that the circumstances are
      such that it would be unjust for that person to retain the benefit.’” T.B. Allen & Assocs., Inc. v. Euro-Pro
      Operating LLC, No. 11-3479, 2012 WL 2508021, at *3 (D. Minn. June 28, 2012) (citation omitted).
 60   “Under Michigan law, the elements of an unjust enrichment claim are “(1) the receipt of a benefit by
      defendant from plaintiff, and (2) an inequity resulting to plaintiff because of the retention of the benefit by the
      defendant.” Ajuba Int’l, L.L.C. v. Saharia, No. 11-12936, 2012 WL 1672713, at *17 (E.D. Mich. May 14,
      2012) (citation omitted).
 61   See Section VII.I.1.b (providing a more comprehensive analysis of the application of New York’s “choice of
      law” principles to unjust enrichment claims).
 62   See, e.g., Adelphia Commn’cs Corp. v. Bank of America N.A. (In re Adelphia Commn’cs Corp.), 365 B.R. 24,
      58 n.137 (Bankr. S.D.N.Y. 2007); Official Comm. of Asbestos Claimants of G-I Holding, Inc. v. Heyman, 277
      B.R. 20, 30 (S.D.N.Y. 2002).
 63   See Block v. Litchy, 428 N.W.2d 850, 854 (Minn. Ct. App. 1988) (“The applicable time limit for bringing an
      action in unjust enrichment is six years.”).
 64   See Golden Pac. Bancorp v. FDIC., 273 F.3d 509, 518 (2d Cir. 2001) (“The statute of limitations in New
      York for claims of unjust enrichment . . . is generally six years.”).

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      Under New York law, a plaintiff seeking to recover under a theory of unjust enrichment
 must establish the elements of the claim by a preponderance of the evidence.65 In particular,
 the plaintiff must demonstrate: “(1) that the defendant benefitted; (2) at the plaintiff’s expense;
 and (3) that equity and good conscience require restitution.”66 Courts have noted that “[t]he
 essential inquiry in any action for unjust enrichment . . . is whether it is against equity and
 good conscience to permit the defendant to retain what is sought to be recovered.”67 Thus, a
 plaintiff that cannot show “some expectation of compensation that was denied” cannot recover
 on an unjust enrichment claim.68

      Assuming that ResCap’s election to be treated as a disregarded entity is not subject to
 avoidance as a fraudulent conveyance (which the Examiner concludes is the likely result),
 there is no basis for an unjust enrichment claim against AFI with respect to ResCap’s NOLs.
 Indeed, as a disregarded entity, ResCap’s post-conversion tax benefits passed to GM and
 Cerberus by operation of tax law, just the same as ResCap’s potential tax liabilities passed to
 GM and Cerberus. Accordingly, as a disregarded entity, ResCap could not possibly have had
 “some expectation of compensation that was denied” (i.e., an expectation that it would be able
 to use its NOLs), which is a requirement for an unjust enrichment claim.

      Moreover, a claim for unjust enrichment requires a showing that it would be “against
 equity and good conscience to permit the defendant to retain what is sought to be
 recovered.”69 This showing requires more than merely demonstrating unfairness. In In re
 Forman Enterprises, Inc., the bankruptcy court rejected a claim of unjust enrichment, holding
 that while it might be “disconcerting” to creditors for the corporation’s shareholders to retain
 for themselves tax refunds arising from NOLs while the corporation went through Chapter 7



 65   Republic of Benin v. Mezel, No. 96 Civ 870, 2011 WL 4373921, at *7 (S.D.N.Y. Sept. 20, 2011) (“A claim for
      unjust enrichment or restitution must be proven by the claimant by a preponderance of the evidence.”).
 66   Tasini v. AOL, Inc., 851 F. Supp. 2d 734, 739 (S.D.N.Y. 2012) (quoting Mid-Island Hosp., Inc. v. Empire
      Blue Cross Blue Shield (In re Mid-Island Hosp., Inc.), 276 F.3d 123, 129–30 (2d Cir. 2002)). See Khreativity
      Unltd. v. Mattel, Inc., 101 F. Supp. 2d 177, 184 (S.D.N.Y. 2000) (“In order to sustain a claim for unjust
      enrichment, plaintiff must demonstrate that (1) defendants were enriched; (2) such enrichment was at
      plaintiff’s expense; and (3) under the circumstances it would be unjust not to compensate plaintiff.”) (citing
      R.B. Ventures, Ltd. v. Shane, 112 F.3d 54, 60 (2d Cir. 1997)).
 67   Tasini v. AOL, Inc., 851 F. Supp. 2d at 739–40 (omission in original) (quoting Dragon Inv. Co. II LLC v.
      Shanahan, 854 N.Y.S.2d 115, 118 (N.Y. App. Div. 2008)).
 68   See Tasini, 851 F. Supp. 2d at 741 (concluding that “under New York law, a plaintiff must plead some
      expectation of compensation that was denied in order to recover under a theory of unjust enrichment”). But
      see Gidatex, S.r.L. v. Companiello Imps., Ltd., 49 F. Supp. 2d 298, 302–03 (S.D.N.Y. 1999) (concluding that
      expectation of compensation is not required to succeed on unjust enrichment claim). Subsequent decisions
      have been critical of the court’s reasoning in Gidatex. Tasini, 851 F. Supp. 2d at 740 n.3 (“The opinion in
      Gidatex is contrary to the great majority of well-reasoned cases. It is also contrary to the subsequent clear
      statement by the Court of Appeals for the Second Circuit . . . .”) (citing Leibowitz v. Cornell Univ., 584 F.3d
      487 (2d Cir. 2009)).
 69   Tasini, 851 F. Supp. 2d at 741 (quoting Dragon Inv. Co. II LLC v. Shanahan, 854 N.Y.S.2d 115, 118 (2008)).

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 liquidation, there was nothing inequitable or unjustifiable in the shareholders’ retention of the
 refunds of a kind required to support a claim for unjust enrichment.70 In so holding, the court
 explained:

                    The trustee offered no evidence showing that this arrangement
                    between debtor and defendants was “done on the sly” or that it
                    was artifice devised by defendants to benefit themselves and to
                    deprive debtor’s creditors should debtor become insolvent.71

       Here, ResCap’s conversion to a disregarded entity appears to have been done in an
 attempt to improve ResCap’s liquidity—not harm it. Additionally, the decision was made in
 conjunction with extensive advice from independent third parties and based on the consent of
 the Independent Directors, at a time when ResCap was solvent and was not yet in financial
 distress. In short, the Investigation has uncovered no evidence to suggest that GM or AFI
 intended to harm ResCap in connection with ResCap’s conversion to a disregarded entity.
 Accordingly, the Examiner concludes that it is unlikely that a claim for unjust enrichment
 would prevail.

       Moreover, if ResCap’s conversion and election does not constitute a fraudulent
 conveyance or result in unjust enrichment, then it is unlikely that ResCap’s directors breached
 any associated duties of due care and loyalty and good faith.72 ResCap’s conversion and
 election to be treated as a disregarded entity was implemented as part of Cerberus’s
 acquisition of AFI, which was the subject of significant discussion and analysis by and among
 the ResCap Independent Directors, inside counsel, outside counsel, independent auditors,
 accountants and Cerberus personnel as well. The Investigation has revealed ample evidence
 that extensive analysis was done regarding the ultimate impact of ResCap’s conversion and
 election. Accordingly, the Examiner concludes that it is unlikely that a claim based on breach
 of fiduciary duty would prevail.

                d. Payment Of The LLC Conversion Dividend Does Not Constitute A Fraudulent
                   Conveyance

       As described in Section V.D.3.b, the LLC Conversion Dividend purportedly was made to
 reflect an increase in the equity value of ResCap attributable to the write-off of tax assets and
 tax liabilities required as a result of ResCap’s conversion to a disregarded entity. Although the
 write-off of tax assets and liabilities was required under FAS 109 because ResCap was
 relieved of its obligation to pay future taxes, there was no corresponding requirement that
 70   Official Comm. of Unsecured Creditors of Forman Enters. v. Forman (In re Forman Enters.), 281 B.R. 600,
      609 (Bankr. W.D. Pa. 2002).
 71   Id. at 609. It should also be noted that the court in In re Forman Enterprises, Inc. analyzed the claim for
      unjust enrichment under both Pennsylvania and Delaware law. However, there is no discernible difference
      between the laws of New York, Pennsylvania, and Delaware regarding unjust enrichment claims, and,
      therefore, the analysis provided in In re Forman Enterprises, Inc. should apply with equal force in New York.
 72   Id. at 610 (holding that if the trustee was unable to demonstrate a claim for unjust enrichment, then a cause of
      action for breach of fiduciary duty arising from the same transaction must also fail).

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 ResCap distribute the resulting increase in equity. ResCap’s decision to approve and make the
 LLC Conversion Dividend to GM was discretionary. The Investigation has uncovered no
 evidence to suggest that the LLC Conversion Dividend was a condition to, or requirement of,
 the conversion transaction.73 Accordingly, there does not appear to be any basis to collapse the
 conversion and the LLC Conversion Dividend in considering whether ResCap received fair
 consideration in exchange for the dividend payment.74

       Courts have generally held that the payment of a dividend is deemed to be for no
 consideration.75 However, certain courts have held that a dividend by a subchapter S-
 corporation or other pass-through tax entity may be for REV if the dividend is intended to
 satisfy, and does not exceed, the pass-through tax liability of the subchapter S-corporation.76
 For example, in In re Northlake Foods, Inc., the court held that a dividend that a corporate
 debtor paid to its shareholder, in the exact amount of the shareholder’s proportionate share of
 pass-through income tax liability, incurred as a result of the corporation’s status as a
 subchapter S-corporation, was not avoidable as a constructively fraudulent transfer.77 The
 court explained that the tax benefit to the debtor as a result of its subchapter S-corporation
 status was “reasonably equivalent value” for its corresponding obligation to pay the dividend,
 of a kind sufficient to preclude a constructive fraudulent transfer claim.78

      However, the Northlake case is distinguishable from the present case because: (1) here,
 the LLC Conversion Dividend was not made pursuant to a shareholder agreement or any other
 contractual obligation; and (2) the amount of the LLC Conversion Dividend was not based on
 ResCap’s pass-through tax liability. Rather, it reflected the purported increase in equity value
 73   In considering whether transactions should be collapsed for fraudulent transfer purposes, courts have
      generally considered three factors: “(1) whether all of the parties involved had knowledge of the multiple
      transactions; (2) whether each transaction would have occurred on its own; and (3) whether each transaction
      was dependent or conditioned on other transactions.” Mervyn’s LLC v. Lubert-Adler Grp. IV, LLC (In re
      Mervyn’s Holdings, LLC), 426 B.R. 488, 497 (Bankr. D. Del. 2010) (internal citations omitted).
 74   As with ResCap’s tax status election described above, the result of any fraudulent transfer analysis with
      respect to the LLC Conversion Dividend will be the same regardless of what state law applies, because the
      Examiner has concluded that ResCap was solvent in November 2006. Accordingly, New York’s fraudulent
      conveyance law would likely apply to consideration of the LLC Conversion Dividend.
 75   See 5 COLLIER ON BANKRUPTCY ¶ 548.05[2][c] (Alan N. Resnick & Henry J. Sommer eds., 16th ed.).
      (“Dividends or other distributions to equity owners in respect of their equity interests are transfers for which
      the corporation or other entity receives no value”); See, e.g., Fisher v. Hamilton (In re Teknek, LLC), 343 B.R.
      850, 861 (Bankr. N.D. Ill. 2006) (noting a dividend is “not a transfer in exchange for reasonably equivalent
      value”); Fidelity Bond & Mortg. Co. v. Brand (In re Fidelity Bond & Mortg. Co.), 340 B.R. 266,
      286–88 (Bankr. E.D. Pa. 2006) (holding that debtor did not receive reasonably equivalent value for dividend
      after noting that “[o]ther courts have held that a dividend or reduction in capital through the purchase of stock
      adds no value for creditors”).
 76   See Crumpton v. Stephens (In re Northlake Foods, Inc.), 483 B.R. 247 (M.D. Fla. 2012); Gold v.
      United States (In re Kenrob Info. Tech. Solutions, Inc.), 474 B.R. 799 (Bankr. E.D. Va. 2012).
 77   In re Northlake Foods, Inc., 483 B.R. at 252–53.
 78   Id. It is also important to note that in Northlake, the corporation agreed to reimburse its shareholders for any
      resulting tax liability at the time of their election for subchapter S-corporation status.

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 as a result of the conversion from a taxable corporation to a disregarded entity. Accordingly, it
 is likely that the LLC Conversion Dividend would be deemed to be for no consideration.

      Ultimately, the above analysis may prove to be academic because, as explained in
 Section VII.K.1.a(2)(a), a claim for fraudulent conveyance will ultimately fail unless the
 Debtors can demonstrate that the dividend was paid at a time when ResCap was insolvent or
 in financial distress as defined by the relevant statute, and the Examiner has concluded that
 ResCap did not become financially distressed until approximately nine months after the date
 of the LLC Conversion Dividend.79 For that reason, even though the LLC Conversion
 Dividend was for less than fair consideration, the Examiner concludes that it is unlikely that a
 constructive fraudulent conveyance claim would prevail.80

                e. ResCap Has A Contractual Claim For Compensation Under The Implemented
                   2005 Tax Allocation Agreement

       From March 2005 through November 30, 2006, ResCap was included in the GM
 consolidated federal income tax return. During this period, AFI and ResCap were parties to
 the Implemented 2005 Tax Allocation Agreement. Pursuant to the Implemented 2005 Tax
 Allocation Agreement, ResCap was entitled to be compensated by AFI to the extent that
 ResCap’s NOLs and other tax benefits were used by both GM and AFI to reduce each of their
 separate group tax liabilities, which was a hypothetical computation in the case of AFI. As
 described in Section V.D.2.c(1), ResCap received a payment from AFI in the amount of $85.9
 million for GM’s and AFI’s use of ResCap tax benefits for the tax year ending November 30,
 2006. However, when the 2006 GM consolidated federal income tax returns were prepared in
 2007, the parties determined that ResCap generated potential tax savings for GM in the
 amount of $101 million for such tax year. Accordingly, ResCap still had a contingent right
 under the Implemented 2005 Tax Allocation Agreement to the remaining $15.1 million in
 potential tax savings generated by ResCap, which would become fixed, in whole or in part, if
 and when GM used the tax benefits. During the course of the Investigation, GM confirmed
 that it has used all of ResCap’s tax benefits that were originally unused by GM in 2006.

      The Examiner has considered whether ResCap may have a contract claim against AFI
 under the Implemented 2005 Tax Allocation Agreement based on the tax benefits that were
 generated by ResCap and passed to, but were unused by, GM in 2006, prior to when the
 agreement terminated.
 79   As discussed in Section VI, the Examiner concludes as follows: (1) ResCap was insolvent as of December 31,
      2007, through the Petition Date; (2) ResCap was left with unreasonably small capital as of August 15, 2007,
      through the Petition Date; and (3) ResCap reasonably believed that it had incurred debts beyond its ability to
      pay as of August 15, 2007, through the Petition Date.
 80   The question of whether the dividend constituted an impermissible dividend under Delaware General
      Corporation Law was considered as well. However, the dividend was paid after ResCap converted to a limited
      liability company. Accordingly, the payment of the dividend must instead be analyzed under the terms of the
      Delaware Limited Liability Company Act and that statute does not contain similar provisions to those found
      in the Delaware General Corporation Law, which would potentially render a dividend impermissible. Nor
      does it appear that the Delaware General Corporation Law applies in the absence of such provisions in the
      Delaware Limited Liability Company Act.

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      As a threshold matter, the Implemented 2005 Tax Allocation Agreement is governed by
 Michigan law.81 Under Michigan law, a claim to recover damages for breach of contract must
 be brought within six years after the claim accrues.82 A contract claim accrues when a promise
 is breached, i.e., when a party fails to perform under the contract.83 Here, AFI’s obligation to
 compensate ResCap (i.e., its duty to perform) is triggered when ResCap’s tax benefits can be
 used by GM and AFI to reduce each of their separate group taxes. Although it is not precisely
 known when the remaining portion of ResCap’s 2006 tax benefits were used by AFI and GM,
 the evidence establishes that they were not used until some time after 2006.84 Accordingly,
 ResCap’s contract claim85 against AFI under the Implemented 2005 Tax Allocation
 Agreement could not have accrued until, at the earliest, some time after 2006. Therefore,
 ResCap’s contract claim will not be time barred.
      Moreover, ResCap’s right to payment on account of its 2006 tax benefits would be
 unaffected by the subsequent termination of the Implemented 2005 Tax Allocation
 Agreement. The Implemented 2005 Tax Allocation Agreement provided that, even if
 terminated, it would “continue to apply to all years and that part of a year ending prior to the
 date of termination.”86 According to its plain meaning, the agreement “continue[s] to apply” to
 determine the parties’ respective rights and obligations for the 2006 tax year.87 In this case,
 ResCap’s right to payment against AFI, albeit contingent and conditional, arose when it
 performed under the Implemented 2005 Tax Allocation Agreement (i.e., when it generated tax
 benefits through November 30, 2006 that passed to GM).88
      Based on the foregoing, the Examiner concludes that it is likely that a contract claim in
 the approximate amount of $15.1 million against AFI arising under the Implemented 2005 Tax
 Allocation Agreement would prevail.
       2. The 2009 Tax Allocation Agreement
      ResCap operated as a disregarded entity without a federal income tax allocation
 agreement from December 1, 2006 through November 1, 2009. During this period, ResCap
 paid no federal income taxes, nor did it make any payments to its owners or any other entity
 81   Implemented 2005 Tax Allocation Agreement, § 6.05 [ALLY_0178779].
 82   See MICH. COMP. LAWS ANN. § 600.5807(8) (West 2013); see also Miller-Davis Co. v. Ahrens Constr., Inc.,
      817 N.W.2d 609, 613 (Mich. Ct. App. 2012).
 83   See Miller-Davis Co. v. Ahrens Constr., Inc., 817 N.W.2d 609, 614; see also 31 WILLISTON on CONTRACTS §
      79:14 (4th ed. 2004) (“[I]f the promise is to pay a debt . . . a right of action is complete, and the statute begins
      to run as soon as the debt is due and unpaid.”).
 84   See Section V.D.2.c(1) (providing a discussion regarding the use of ResCap’s tax benefits by AFI and GM).
 85   The maximum amount of the contract claim, assuming all of ResCap’s 2006 tax benefits were used by GM
      and AFI, would be approximately $15.1 million, which reflects the difference between the $27.5 million of
      remaining tax benefits and the $12.4 million overestimation of GM’s utilization made on November 30, 2006.
 86   Implemented 2005 Tax Allocation Agreement, § 6.08 [ALLY_0178779].
 87   Id.
 88   See Munderloh v. Comm’r, 48 T.C. 452 (1967) (distinguishing between when a contract party’s obligation to
      make a payment exists, and when the party’s duty to perform may arise).

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 on account of federal income tax obligations. In December 2009, AFI proposed that a tax
 allocation agreement be put in place between ResCap and AFI to be effective as of the date
 when ResCap became part of AFI’s corporate consolidated group, November 1, 2009.89 The
 First 2009 Tax Allocation Agreement was drafted to treat ResCap as if it were a stand-alone
 taxpayer, with an additional proviso that was very favorable to ResCap: AFI would pay
 ResCap for ResCap’s tax benefits that AFI could currently use even if ResCap could not yet
 use the tax benefits on a stand-alone basis.90

      The First 2009 Tax Allocation Agreement was unanimously approved by the ResCap
 Board at an August 6, 2010 meeting, at which time it was resolved that “each of the officers of
 [ResCap] is authorized and empowered, in the name and on behalf of [ResCap] and its
 relevant subsidiaries, to make or cause to be made, and to execute and deliver, the [First 2009
 Tax Allocation Agreement] . . . .”91 The First 2009 Tax Allocation Agreement was viewed by
 the ResCap Board as being so objectively fair to ResCap that the Board did not believe it was
 necessary for the agreement to first be considered and recommended by the Special
 Committee of Independent Directors, which was normal protocol for consideration of affiliate
 agreements.92 As of October 13, 2010, the First 2009 Tax Allocation Agreement was executed
 by all parties (including AFI),93 except for ResCap, as Young, ResCap’s CFO at the time94 and
 the officer who was designated to execute the agreement95 on behalf of ResCap, claims to
 have never executed it.96
 89   See E-mail from W. Marx (Dec. 6, 2009) [EXAM12308200].
 90   See id.
 91   See Minutes of a Regular Meeting of the Board of Residential Capital LLC, Aug. 6, 2010, at RC40018821–22
      [RC40018729].
 92   See id.
 93   As described in Section V.D.2.b(3), Examiner’s Counsel requested, but did not receive, an executed or
      partially executed copy of the First 2009 Tax Allocation Agreement. Nevertheless, David DeBrunner, AFI’s
      VP and Chief Accounting Officer in late 2010, confirmed during his interview that he executed the agreement
      on behalf of AFI. See Int. of D. DeBrunner, Apr. 18, 2013, at 116:3–22.
 94   Young was also a director of ResCap at this time. See Appendix IV.A—3.
 95   The August 6, 2010 ResCap Board resolution did not specifically designate Young as ResCap’s signatory on
      the First 2009 Tax Allocation Agreement. However, there does not appear to be a question that Young would
      be the ResCap officer signing. As Young explained during his interview, “we just looked at the board minutes
      where the board delegated the authority to a ResCap officer and it didn’t say Jim Young, chief financial
      officer, but I was an officer of ResCap, and it would make perfect sense that I was the one signing a tax
      allocation agreement being that I’m the chief financial officer of the company.” Int. of J. Young, Apr. 22,
      2013, at 200:12–201:9. Notably, Young’s name appeared on the signature block for ResCap in the draft of the
      agreement that was presented to the ResCap Board at the August 6, 2010 board meeting, and he was the
      signatory on prior tax allocation agreements, as well as the signatory on the Second 2009 Tax Allocation
      Agreement. See First 2009 Tax Allocation Agreement, at RC40016384 [RC40016362]; see also 2006 Tax
      Allocation Agreement, at ALLY_0178791 [ALLY_0178779]; Second 2009 Tax Allocation Agreement, at 6
      [RC00028796].
 96   See Int. of J. Young, Apr. 22, 2013, at 146:19–147:4.

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      Despite having already signed the First 2009 Tax Allocation Agreement around
 September 13, 2010,97 in October 2010 AFI had a change of heart and decided it did not want
 to move forward with implementing the agreement.98 Instead, AFI proposed a modification of
 the First 2009 Tax Allocation Agreement that removed ResCap’s right to receive payments
 from AFI for AFI’s utilization of ResCap tax benefits without substituting any provision that
 would be favorable to ResCap.99 ResCap’s Independent Directors discussed the revised
 agreement with their counsel, who characterized this key aspect of the revised tax allocation
 agreement as being “very unfair” to ResCap.100 However, after certain revisions were made to
 the Second 2009 Tax Allocation Agreement, the Independent Directors believed that the
 fairness concerns had been addressed to their counsel’s satisfaction.101 The ResCap Board
 approved the agreement and it was executed on January 26, 2011.102 The Second 2009 Tax
 Allocation Agreement was made retroactive to November 1, 2009, and is still putatively in
 effect today. ResCap’s entry into the Second 2009 Tax Allocation Agreement has resulted in it
 having to pay AFI for tax on excess inclusion income, which from 2009 through 2012 totaled
 approximately $50 million. ResCap has not received, and will never be entitled to receive, any
 payments under the Second 2009 Tax Allocation Agreement (other than an adjustment for an
 erroneous overpayment).

      ResCap’s decision to enter into the Second 2009 Tax Allocation Agreement is troubling
 because: (1) the ResCap Board had previously approved a much more favorable tax allocation
 agreement; and (2) when they authorized its execution, the Independent Directors were
 unaware that ResCap would be required to make payments to AFI on account of taxes on
 excess inclusion income. There are multiple bases to be considered to challenge the Second
 2009 Tax Allocation Agreement and recover the payments made by ResCap to AFI
 thereunder. There may also be a basis for ResCap to enforce the First 2009 Tax Allocation
 Agreement and assert claims against AFI arising thereunder based on tax benefits that have
 passed (and are likely in the future to pass) to AFI.


 97   See Int. of D. DeBrunner, Apr. 18, 2013, at 110:14–111:19, 115:11–116:22 (stating that “Bill Marx told me
      that I would be getting a binder of tax allocation agreements that needed to be executed by an officer of
      [AFI]” and “So, I signed those agreements, I gave the binder back or sent the binder back to Bill.”); Int. of W.
      Marx, Apr. 18, 2013, at 57:20–58:9 (“So Monday the 13th, I believe I walked the binder down to David’s
      office . . . . I don’t recall exactly how long it was before I got it back. It might have been a day or two, or he
      might have gotten it back to me the same day.”).
 98   See E-mail from W. Marx (Oct. 13, 2010) [ALLY_0245484] (estimating that AFI’s payments to ResCap
      under the First 2009 Tax Allocation Agreement “may be on the order of $200 to $250m, due 10/31.
      (Additional $300 to $400m would likely be due for the 2010 tax year, payable this time next year)”).
 99   See Discussion Items for Residential Capital, LLC Board Meeting, dated Nov. 5, 2010, at RC40016933
      [RC40016871]; see also E-mail from T. Hamzehpour (Nov. 10 2010), at EXAM10432502–03
      [EXAM10432501].
 100 E-mail from M. Connolly (Dec. 16, 2010), at EXAM10432518 [EXAM10432517].

 101 See Int. of P. West, Apr. 16, 2013, at 91:21–24.

 102 See id. at 28:2–15, 90:6–91:24.



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              a. The First 2009 Tax Allocation Agreement Likely Constitutes A Valid And
                 Enforceable Contract

       The ResCap Board, of which Young was a member, unanimously passed a resolution on
 August 6, 2010 authorizing and empowering him, as an officer of the company, to execute the
 First 2009 Tax Allocation Agreement on behalf of ResCap. AFI signed the agreement, but
 Young failed to do so for ResCap. During his interview conducted on March 15, 2013, Young
 was unable to explain why he had not signed the First 2009 Tax Allocation Agreement. In
 fact, during his interview, Young stated “I don’t recall,” when asked if he had ever signed the
 First 2009 Tax Allocation Agreement.103 Marx, however, said during his interview that he did
 not mail the agreement to Young for signature until around October 15, 2010.104 During
 Young’s subsequent interview under oath, conducted on April 22, 2013,105 Young still had
 difficulty recalling many events surrounding his failure to execute the First 2009 Tax
 Allocation Agreement, but he did recall the reason for not signing the agreement. Young
 stated that he did not sign the First 2009 Tax Allocation Agreement because he was told by a
 high-ranking AFI officer (James Mackey) that the agreement had not been properly vetted or
 approved within AFI.106

      Despite Young’s failure to sign the agreement on behalf of ResCap, the first issue the
 Examiner has considered is whether the First 2009 Tax Allocation Agreement could be
 deemed to be a valid and enforceable contract based on AFI’s signing, and the ResCap
 Board’s approval, of the agreement. This analysis is significant because, as described below,
 the Examiner believes that there is a basis to avoid the Second 2009 Tax Allocation
 Agreement as a fraudulent transfer. If the First 2009 Tax Allocation Agreement is enforceable,
 and the Second 2009 Tax Allocation Agreement is voided, then ResCap would have
 significant claims against AFI based on tax benefits that have passed from ResCap to AFI
 since November 1, 2009.

                   (1) Michigan Law Governs Enforcement Of The Contract

      New York courts will give effect to a choice of law provision if the parties have included
 one in their agreements.107 The Implemented 2005 Tax Allocation Agreement, which the First
 2009 Tax Allocation Agreement purported to amend, as well as the First 2009 Tax Allocation
 Agreement itself, both designate Michigan law as the controlling law.108
 103 See Int. of J. Young, Mar. 15, 2013, at 37:13–16.

 104 See Int. of W. Marx, Apr. 18, 2013, at 65:7–12.

 105 Young was asked by the Examiner to submit to an interview under oath, because during the course of the

    Investigation certain information and/or statements were attributed to Young that were not consistent with the
    information provided by Young during his interview conducted on March 15, 2013.
 106 See Int. of J. Young, Apr. 22, 2013, at 11:3–11:10, 97:13–21, 160:14–161:10.

 107 See, e.g., Gambar Enters. v. Kelly Servs., 418 N.Y.S.2d 818, 822 (N.Y. App. Div. 1979) (applying choice of

    law provision in contract specifying application of Michigan law).
 108 SeeImplemented 2005 Tax Allocation Agreement, § 6.05 [ALLY_0178779]; First 2009 Tax Allocation
    Agreement, § 5.05 [RC40016362].

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                   (2) Michigan Contract Analysis
       Under Michigan law, the elements of a valid contract are: “(1) parties competent to
 contract, (2) a proper subject matter, (3) a legal consideration, (4) mutuality of agreement, and
 (5) mutuality of obligation.”109 Mutuality of agreement means that there must be “mutual
 assent or a meeting of the minds on all material or essential terms” in order to form a
 contract.110 An objective standard is used to determine whether there was a meeting of the
 minds, which involves considering the express words and visible acts of the parties and not
 their subjective states of mind.111 Further, for certain types of contracts to be enforceable, the
 Michigan statute of frauds provides that they must be “in writing and signed with an
 authorized signature by the party to be charged” with the agreement.112
      With respect to the First 2009 Tax Allocation Agreement, there is no dispute regarding
 whether the parties were competent to contract, whether the contract involved a proper subject
 matter or adequate legal consideration, or if there was a mutuality of obligation. The critical
 issue here is whether, from an objective standpoint, there was “mutual assent or a meeting of
 the minds” between ResCap and AFI as to the essential terms of the agreement, including
 whether the First 2009 Tax Allocation Agreement was intended to be enforceable upon its
 approval by the parties or only upon it being signed by all parties.
      Under Michigan law, there is support for the proposition that an unsigned contract can be
 enforceable:
                   If the party sought to be charged intended to close a contract
                   prior to the formal signing of a written draft, or if he signified
                   such an intention to the other party, he will be bound by the
                   contract actually made, though the signing of the written draft
                   be omitted. If, on the other hand, such party neither had nor
                   signified such an intention to close the contract until it was fully
                   expressed in a written instrument, and attested by signatures,
                   then he will not be bound until the signatures are affixed. The
                   expression of the idea may be attempted in other words: If the
                   written draft is viewed by the parties merely as a convenient
                   memorial or record of their previous contract, its absence does
                   not affect the binding force of the contract. If, however, it is
                   viewed as the consummation of the negotiation, there is no
                   contract until the written draft is finally signed.113
 109 Hess v. Cannon Twp., 696 N.W.2d 742, 748 (2005) (citations omitted).

 110 Garrison Co. v. Bishop Int’l Airport Auth., No. 293415, 2010 WL 4679501, at *3 (Mich. Ct. App. Nov. 18,

    2010) (citation omitted).
 111 Id.

 112 MICH. COMP. LAWS ANN. § 566.132 (West 2012).

 113 Am. Bentonite Corp. v. Clark Equip. Co., 43 F.2d 392 (W.D. Mich. 1928) (quoting Mississippi & Dominion

    S.S. Co. v. Swift, 29 A. 1063, 1066–67 (Me. 1894). See also High v. Capital Senior Living Props. 2-
    Heatherwood, Inc., 594 F. Supp. 2d 789, 798 (E.D. Mich. 2008) (“The absence of a signature is not
    necessarily fatal to a finding of an agreement. Michigan law permits an inference that an offeree accepted the
    terms of the agreement when she signaled her assent through conduct.”) (citations omitted).

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      Courts will look to the intent of the contracting parties to determine whether their
 unsigned contracts were intended to be enforceable upon the assent of the parties or only upon
 formal signing.114 Notably, a partially-signed agreement may be enforceable against the party
 executing the agreement unless it can be shown that the parties did not intend to be bound
 unless and until all other parties signed.115 The “question as to whether those who have signed
 are bound is generally to be determined by the intention and understanding of the parties at the
 time of the execution of the instrument.”116 Where “a written agreement is silent as to whether
 the persons who sign it intend to be become legally obligated to each other before all persons
 named in it as parties have signed, parole evidence is admissible to show the intention of the
 parties.”117

       Here, the First 2009 Tax Allocation Agreement contains no express provision providing
 that it is effective and enforceable only upon being signed by all parties to the agreement.118
 Accordingly, it is appropriate to consider parole evidence to determine if the parties intended
 to be bound by the First 2009 Tax Allocation Agreement. The first issue to consider is
 whether the ResCap Board’s approval of the First 2009 Tax Allocation Agreement is evidence
 of ResCap’s intent to be bound by the agreement, despite the fact that an officer of ResCap
 never signed the agreement.

      In a case with facts similar to those here, the Michigan Court of Appeals held that a
 company’s board resolution that authorized its officer to execute a contract resulted in a “valid
 contractual relationship,” even though the contract was not formally signed thereafter. In
 Garrison Co. v. Bishop International Airport Authority, an airport’s governing board accepted
 a construction company’s offer to perform a construction project in accordance with bid
 114 See Wiegand v. Tringali, 177 N.W.2d 435, 437–38 (Mich. Ct. App. 1970).

 115 See id. at 437 n.5 (citing Cox v. Berry, 431 P.2d 575, 579 (Utah 1967) (“Even where it appears that it was

    intended that others sign an agreement, it is not necessarily invariably true that all must sign before any are
    bound. This depends upon the agreement and whether it appears that part of the consideration for signing was
    that others would also sign and be bound jointly with them. It is usually to be assumed that the parties signing
    an agreement are bound thereby unless it appears that they did not so intend unless others also signed.”)); see
    also Dillon v. Anderson, 43 N.Y. 231, 235 (1870).
 116 Wiegand v. Tringali, 177 N.W.2d at 438 (quoting 17 C.J.S. CONTRACTS § 62 (2011)).

 117 See Wiegand v. Tringali, 177 N.W.2d at 483 n.7.

 118 The First 2009 Tax Allocation Agreement does contain a merger clause (section 5.04) and does contain

    language preceding the signature block that reads: “IN WITNESS WHEREOF, the parties hereto have
    executed this AGREEMENT on the date indicated below….” See First 2009 Tax Allocation Agreement, §
    5.04 [RC40016362]. These are fairly standard contractual provisions, but some courts have found that the
    presence of these provisions, in certain circumstances (usually in combination with other contractual
    provisions and/or communications between the parties that there be formal execution), may be factors to
    conclude that the parties did not intend to be bound prior to the execution of a written agreement. See Kargo,
    Inc. v. Pegaso PCS, S.A. de CV., No, 05 Civ. 10528. 2008 WL 4579758, at *8 (S.D.N.Y. Oct. 14. 2008); Nat’l
    Gear & Piston, Inc. v. Cummins Power Sys., LLC, 861 F. Supp. 2d 344, 357 (S.D.N.Y. 2012). Moreover, the
    2006 Tax Allocation Agreement, which the First 2009 Tax Allocation purported to amend, provides that any
    amendment must be in writing, but does not expressly state that the document must be fully signed in order to
    be effective. See 2006 Tax Allocation Agreement, § 6.04 [ALLY_0178779].

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 documents which comprehensively described the work to be done.119 Although the board
 “authorized” its CEO to sign the necessary contracts to carry out the project, the CEO did not
 sign the contracts.120 Nevertheless, e-mails between the construction company and the
 airport’s architect suggested that the parties were proceeding as if a contractual relationship
 existed and that the signing of the agreements was a mere formality.121 However, the airport
 attempted to rescind its acceptance a month after it approved the bid and the construction
 company brought suit claiming the airport breached the contract.122

      In holding that a valid contract existed, the court in Garrison found that there was
 “objective evidence of a meeting of minds on the essential terms of a contract” based on the
 board’s resolution accepting the construction company’s bid and the board’s communication
 of its acceptance to the other party.123 The court noted that the board resolution was not
 conditional, further negotiations were not envisioned, and there was not enough support for
 the airport board’s position that the parties did not intend to be bound until the construction
 contracts were fully executed.124 Given that both parties had already agreed to the contracts as
 part of the bidding process, the court found that “the act of formally executing the construction
 contracts was not a step that had to be completed before a valid contractual relationship
 arose.”125 Furthermore, the court pointed out that although there may have been minor
 contractual details that remained to be addressed, the essential terms of a contract were
 already in place.126

      The Garrison case supports the position that the First 2009 Tax Allocation Agreement
 could be enforceable based on the ResCap Board’s approval of the agreement. First, as in the
 Garrison case, there is ample evidence to find that the ResCap Board was fully aware of the
 salient terms of the First 2009 Tax Allocation Agreement when it approved the agreement.127
 ResCap’s counsel reviewed and commented on the agreement, and provided the ResCap
 Board with a memorandum dated July 11, 2010 summarizing the key terms of the
 agreement.128 Moreover, at its August 6, 2010 meeting, the ResCap Board discussed the Joint
 119 Garrison Co. v. Bishop Int’l Airport Auth., No. 293415, 2010 WL 4679501, at *2 (Mich. Ct. App. Nov. 18,

    2010).
 120 Id.

 121 Id.

 122 Id. at *2–3.

 123 Id. at *4.

 124 Id.

 125 Id.

 126 Id.

 127 To enforce an unsigned contract, it must be shown that the party who failed to sign the agreement fully

    understood the terms thereof. See High v. Capital Senior Living Properties 2-Heatherwood, Inc., 594 F. Supp.
    789, 798 (E.D. Mich. 2008). This is especially important, because “the absence of a signature deprives the
    defendant of a presumption that it otherwise might enjoy: that one who signs a written agreement is presumed
    to know the nature of the document and to understand its contents.” Id.
 128 Memorandum, Revised Tax Allocation Agreement Draft, dated July 11, 2010 [EXAM20269709].



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 ResCap-AFI Tax Memorandum to ResCap Board that attached, and explained in detail, the
 First 2009 Tax Allocation Agreement.129 The fact that the memorandum presented to the
 ResCap Board was prepared by officers of both ResCap and AFI lends further support that the
 First 2009 Tax Allocation Agreement was understood by both parties and that there was a
 “meeting of the minds” on the salient terms of the agreement.

       Second, there is no doubt that ResCap’s Board intended for ResCap to execute and be bound
 by the First 2009 Tax Allocation Agreement. The recitals preceding the ResCap Board resolution
 approving the First 2009 Tax Allocation Agreement provided that “management has
 recommended that . . . [ResCap Board] approve the execution and delivery” of the agreement, and
 the resolution itself unequivocally stated that each of ResCap’s officers was authorized to “execute
 and deliver” the agreement.130 As in the Garrison case, the ResCap Board resolution was
 unconditional and did not contemplate further negotiations. Indeed, Pamela West, one of
 ResCap’s Independent Directors, stated at her interview that following Board approval of the First
 2009 Tax Allocation Agreement, the ResCap Board “assumed that [ResCap’s officers] would
 execute and deliver the agreement [because] [w]e authorized them to do that.”131

      AFI also believed that ResCap viewed the First 2009 Tax Allocation Agreement as being
 “resolved” and “done.” In an e-mail from Marx to Mackey, sent on October 15, 2010, two
 months after ResCap’s Board approved the agreement, Marx stated that “[p]eople at ResCap
 think the method of allocation has been resolved and we are just finalizing docs and the
 allocation will follow.”132 In a follow-up e-mail the same day from Marx to Mackey, Marx
 further stated that “I would go back to Jim Young at this time merely as a courtesy to let him
 know that we have more work to do here because he has been in the loop on the development
 of these [tax allocation] agreements and thinks they are done.”133 There is also evidence that
 AFI viewed the First 2009 Tax Allocation Agreement as final (i.e., they “weren’t expecting
 additional edits”) when it was sent out for execution in early September 2010.134

     Third, AFI was aware that the ResCap Board approved the First 2009 Tax Allocation
 Agreement when AFI executed the agreement. In a September 9, 2010 memorandum from
 Marx to all designated signatories of the First 2009 Tax Allocation Agreement, Marx noted
 129 See Minutes of a Regular Meeting of the Board of Directors of Residential Capital, LLC, Aug. 6, 2010, at

    RC40018820–22 [RC40018729].
 130 Id.

 131 See Int. of P. West, Apr. 16, 2013, at 58:17–19.

 132 E-mail from W. Marx (Oct. 15, 2010), at ALLY_0424663 [ALLY_0424660].

 133 E-mail from W. Marx (Oct. 15, 2010), at ALLY_0424662 [ALLY_0424660]. Although Marx’s
    contemporaneous belief in October 2010 was that Young viewed the First 2009 Tax Allocation Agreement as
    being “done,” Young stated during his interview that he did not intend for the First 2009 Tax Allocation
    Agreement to be binding until he signed the agreement, nor does he believe that anyone on the ResCap side
    intended for ResCap to be bound by the agreement until it was signed by a ResCap officer. See Int. of J.
    Young, Apr. 22, 2013, at 209:20–210:10.
 134 See Int. of W. Marx, Apr. 18, 2013, at 55:12–24. Marx now states that he never viewed the First 2009 Tax

    Allocation Agreement as being binding because it was not fully executed. Id. at 143:18–144:13.

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 that “the [First 2009 Tax Allocation Agreement] has been reviewed by outside legal counsel
 representing the ResCap Board and ResCap General Counsel Tammy Hamzehpour, and has
 been approved by the ResCap Board.”135 Notably, David DeBrunner, AFI’s Chief Accounting
 Officer at the time and the officer designated to sign the agreement on behalf of AFI, was a
 recipient of the memorandum. Thus, when AFI executed the First 2009 Tax Allocation
 Agreement some time around September 13, 2010,136 it was aware that the ResCap Board had
 already approved the agreement.

      Moreover, it appears that AFI expected the First 2009 Tax Allocation Agreement to be
 implemented. AFI calculated its expected payment obligations to ResCap under the First 2009
 Tax Allocation Agreement and discussed those payments with their outside accountants. In an
 October 13, 2010 e-mail from Marx to James Mackey, AFI’s CFO at the time, with the subject
 line “High Priority-Tax Allocation- Large Payment Possibly due ResCap October 30,” Marx
 expressly noted that under the First 2009 Tax Allocation Agreement, AFI would be required
 to pay ResCap for the losses used by the AFI group and then estimates that those payments
 “may be on the order of $200 to $250m, due 10/31. (Additional $300 to $400 m would likely
 be due for the 2010 tax year, payable this time next year.).”137 Marx also sent a follow-up e-
 mail to Mackey on October, 15, 2010, in which Marx stated that “[c]alculations were started
 immediately upon filing the first consolidated return on September 15.”138

      Finally, as discussed in detail in Section VII.L.2, there were several prior occasions when
 AFI and ResCap engaged in contractual arrangements where they did not stand on ceremony or
 formality in carrying out and enforcing their agreements. The parties’ prior course of conduct with
 respect to other contracts supports the conclusion that AFI and ResCap viewed execution of the
 agreement as a mere formality.

      Accordingly, the Examiner concludes that the evidence supports the proposition that
 there was a “meeting of the minds” or mutual assent between AFI and ResCap on all material
 terms of the First 2009 Tax Allocation Agreement and that the ResCap Board’s approval of
 the agreement evidences ResCap’s intent to be bound by the agreement. In reaching this
 conclusion, the Examiner is aware that Young stated during his interview that, despite ResCap
 Board approval, he did not intend for the First 2009 Tax Allocation Agreement to be binding
 until he signed the agreement, and that he did not believe that “anyone on the ResCap side”
 intended for ResCap to be bound by the agreement until it was signed by a ResCap officer.139
 135 See Memorandum, Action Required—ResCap Tax Allocation Agreements for Execution, dated Sept. 9, 2010

    [ALLY_0435003].
 136 DeBrunner could not recall the precise date that he executed the First 2009 Tax Allocation Agreement on

    behalf of AFI. See Int. of D. DeBrunner, Apr. 18, 2013, at 122:8–14. But Marx recalled that he hand-delivered
    the agreement to DeBrunner for execution on or around September 13, 2010. See Int. of W. Marx, Apr. 18,
    2013, at 57:20–58:5.
 137 E-mail from W. Marx (Oct. 13, 2010) [ALLY_0245484]. Marx further states that the payments to ResCap

    “would be a Q4 event and will be treated as a capital contribution to ResCap. Deloitte concurs.” Id.
 138 See E-mail from W. Marx (Oct. 15, 2010), at ALLY_0424661 [ALLY_0424660].

 139 See Int. of J. Young, Apr. 22, 2013, at 209:20–210:10.



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 However, the Examiner finds it difficult to give any weight to Young’s opinion as to whether
 others at ResCap, and in particular the ResCap Board, intended for the First 2009 Tax
 Allocation Agreement to be binding and enforceable given that Young has no specific
 recollection of speaking to anyone on the ResCap Board about why he did not sign the
 agreement or what was said if, in fact, he did discuss the agreement with the Board.140

      The Examiner also concludes that the evidence supports the proposition that AFI’s
 execution of the agreement evidences AFI’s intent to the bound by the agreement, despite
 ResCap’s failure to sign the agreement. While the Investigation turned up several
 communications between Marx and other officers at AFI wherein he indicates that the First
 2009 Tax Allocation Agreement was not binding on AFI,141 these statements were all made
 after AFI had already signed the First 2009 Tax Allocation Agreement and the ResCap Board
 had approved the agreement. Marx’s opinion aside, the Investigation has uncovered no
 evidence to establish that AFI required signature by ResCap to be a condition to the agreement
 being enforceable.

      Moreover, the Examiner is not aware of any basis to conclude that AFI should not be
 bound by its execution of the First 2009 Tax Allocation Agreement because it was a “mistake”
 that obligated AFI to make large payments to ResCap.142 The Investigation has uncovered no
 evidence that supports this conclusion. The provision in the First 2009 Tax Allocation
 Agreement requiring AFI to compensate ResCap for its tax benefits was fully understood by
 AFI when the agreement was first proposed in December 2009. In fact, the evidence
 demonstrates that this provision was intentional and strategic. At his interview, Marx, who
 drafted the agreement,143 stated that the “primary driver” of the payment provision was to find
 a way to maximize the use of ResCap’s deferred tax assets in order to permit ResCap to get an
 “equity bump.”144 Marx further stated that this strategy was “explored” with AFI’s external




 140 Id. at 146:20–147:16.

 141 See E-mail from W. Marx (Oct. 13, 2010) [ALLY_0245484] (wherein Marx describes various “options” for

    AFI, including “[d]o not complete execution of the [First 2009 Tax Allocation Agreement].” Marx goes on to
    state that “[a]bsent a signed agreement, the accounting should default to stand-alone treatment under
    GAAP.”). This statement suggests that Marx believed that the agreement was not yet enforceable. See also
    E-mail from W. Marx (Oct. 15, 2010), at ALLY_0424663 [ALLY_0424660] (wherein Marx says to Mackey
    “[a]s we do not have a fully executed agreement with ResCap at this point, I don’t think we need to respect
    the deadlines in the proposed agreement.”). Moreover, during his interview, Marx stated that he did not
    believe the First 2009 Tax Allocation Agreement was binding and enforceable until it was fully executed.
    However, he noted that he never sought legal advice with respect to the issue. See Int. of W. Marx, Apr. 18,
    2013, at 82:15–24, 143:18–144:13.
 142 See Int. of P. West, Apr. 16, 2013, at 20:3–8; Int. of D. DeBrunner, Apr. 18, 2013, at 116:13–22, 118:8–23,

    125:16–22.
 143 See Int. of W. Marx, Apr. 18, 2013, at 36:24–37:6.

 144 See id. at 29:14–31:3.



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 auditors.145 Moreover, in an e-mail sent on December 6, 2009, Marx explicitly describes the
 benefit of the First 2009 Tax Allocation Agreement to ResCap:

                   If ResCap or any of its relevant sub-groups or subsidiaries
                   generates foreign tax credits, net operating losses, or capital
                   losses that it would not be able to use on a stand-alone basis in
                   the current period, but the [AFI] group can utilize the benefits
                   on the consolidated [AFI] return, then the ResCap entity will be
                   paid currently for those benefits. This deviation from strict
                   stand-alone accounting will in all cases be either neutral or more
                   beneficial to ResCap than strict stand-alone. We drafted the
                   agreements in this manner to be consistent with other allocation
                   agreements in the Group (Bank and Insurance have similar
                   agreements already in place).146

       The evidence establishes that AFI changed its mind after executing the agreement, when
 it calculated its expected payment obligation to ResCap and realized that its payment
 obligation to ResCap would be hundreds of millions of dollars. This desire to get out from the
 First 2009 Tax Allocation Agreement is set out in an October 18, 2010 e-mail from Marx to
 Young and Hamzehpour, when Marx explains:

                   The [First 2009 Tax Allocation Agreement] was initially drafted
                   and proposed under a previous [AFI] senior financial management
                   team. In light of the potentially large capital contributions that
                   could result under such an agreement, I have requested review and
                   approval by [AFI’s] current senior leadership.147

      If there was any “mistake” made here, it was AFI’s unilateral mistake in failing to
 anticipate the magnitude of its monetary obligation under the First 2009 Tax Allocation
 Agreement.148

     AFI’s failure to appreciate the financial consequences of the First 2009 Tax Allocation
 Agreement does not provide a basis to nullify or reform the agreement. “While a court has the
 power to reform a contract to avoid an unconscionable harm, reformation is not appropriate
 145 See id. at 30:12–31:7.

 146 See E-mail from W. Marx (Dec. 6, 2009) [EXAM12308200]. DeBrunner, who executed the First 2009 Tax

    Allocation Agreement on behalf of AFI, was copied on this e-mail. The beneficial nature of the First 2009
    Tax Allocation Agreement to ResCap was also set out in the Joint ResCap-AFI Tax Memorandum to ResCap
    Board which Marx took part in preparing. See Memorandum, Agreements for Allocation of Taxes, dated
    Aug. 6, 2010, at RC40016374–84 [RC40016362].
 147 E-mail from W. Marx (Oct. 18, 2010) [ALLY_0424659].

 148 Marx stated during his interview that “we didn’t intend to be making major capitalization decisions with

    respect to ResCap in the tax department. . . . I simply didn’t consider the ramifications of putting an
    agreement in place that could compel very large capital contributions when that’s something the board was
    very focused on.” Int. of W. Marx, Apr. 18, 2013, at 62:9–12, 75:8–12.

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 simply because the contract produces a suboptimal or inconvenient result viewed in
 hindsight.”149 Moreover, if the terms of an agreement are accurate and agreed upon, the court
 will honor the writing and will not modify those terms to alleviate “a hard or oppressive
 bargain” subsequently realized.150 The mistake must be a mutual mistake of fact, and not a
 mistake as to the legal effect or consequences of the contract.151 Indeed, a unilateral mistake is
 not sufficient to warrant reformation.152 Accordingly, AFI’s remorse based on the unexpected
 amount of compensation owed to ResCap under the First 2009 Tax Allocation Agreement
 does not provide a basis to nullify or reform the agreement to the extent that it is otherwise
 deemed to be valid and enforceable.
      It was also suggested by DeBrunner during the course of the Investigation that AFI should
 not be bound by the First 2009 Tax Allocation Agreement because board approval is required
 before AFI is authorized to make any sizeable capital contributions.153 Notably, AFI’s failure to
 obtain proper senior level approval is the reason given by Young for having failed to sign the
 agreement on behalf of ResCap.154 A resolution adopted by the AFI Board on October 5, 2009,
 provides, in relevant part, that the AFI Board has sole authority with respect to “[a]n injection of
 equity into any company or joint venture where, as a result of such capital injection, [AFI] invests
 $50 million or more or ends up with significant operating control.”155 AFI also had an accounting
 policy in place since December 23, 2009 providing that “[a]ll tax sharing agreements must be
 approved by the respective boards of directors or appropriate management designee.”156
     Despite the foregoing governance provisions, the Examiner does not find this position to
 be persuasive. Regardless of how payments under a tax allocation agreement may be treated
 149 66 AM. JUR. 2d REFORMATION OF INSTRUMENTS § 11 (2013) (citing Chandler v. Hayden, 215 P.3d 485

    (Idaho 2009)).
 150 See id. (citing LaSalle Bank, N.A. v. Reeves, 919 A.2d 738 (Md. 2007)); see also George Backer Mgmt. Corp.

    v. Acme Quilting Co., Inc., 385 N.E.2d 1062, 1066–67 (N.Y. 1978) (holding that a contract that subsequently
    resulted in monetary consequences to a party that the party did not anticipate was still valid because the
    contract was highly negotiated, and the party could not show that the consequence of the contract was due to a
    mistake in the contract).
 151 See Casey v. Auto Owners Ins. Co., 729 N.W.2d 277, 284–85 (Mich. Ct. App. 2006); see also VoiceAge Corp.

    v. RealNetworks, Inc., No. 5753, 2013 WL 680932 (S.D.N.Y. Feb. 26, 2013); Cobalt Multifamily Investors I,
    LLC v. Bridge Capital (USVI), LLC, No. 5738, 2007 WL 2584926 (S.D.N.Y. Sept. 7, 2007).
 152 See Casey v. Auto Owners Ins. Co., 729 N.W.2d 277, 284–85 (Mich. Ct. App. 2006).

 153 See Int. of D. DeBrunner, Apr. 18, 2013, at 118:8–23, 125:16–126:1 (BeDrunner stated that the First 2009

    Tax Allocation Agreement “was not intended to be a, quote-unquote, ‘backdoor for capital contributions’
    because I was fully aware that that required the approval of the [AFI Board] for anything over $50 million. So
    again, you know, there was a delegated authority. If it were anything up to that amount I could sign on behalf
    . . . . Anything over and above that would require a specific board action.”); see also Int. of W. Marx, Apr. 18,
    2013, at 126:10–25.
 154 See Int. of J. Young, Apr. 22, 2013, at 10:14–11:7, 97:8–21.

 155 See
       Minutes of a Special Meeting of the Board of GMAC Inc., Oct. 5, 2009, at ALLY_0115241, –43
    [ALLY_0114717].
 156 AFI Accounting Policy 3330: Accounting for Income        Taxes, effective Oct. 1, 2010, at EXAM12354101
    [EXAM12354093].

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 on AFI’s books for accounting purposes,157 The Examiner is aware of no legal authority for
 the proposition that payments under a tax allocation agreement should be characterized as
 capital contributions.
      Moreover, when DeBrunner signed the First 2009 Tax Allocation Agreement, he
 believed he was acting under “delegated authority.”158 AFI’s in-house counsel was of the same
 belief. A September 9, 2010 memorandum circulated by Marx provides that AFI’s in-house
 counsel had advised that “no additional governance is required at the [AFI] level” in
 connection with execution of the First 2009 Tax Allocation Agreement.159 Notably, the
 Investigation did not reveal any evidence of the AFI Board ever considering the approval of
 any tax allocation agreements, including the Second 2009 Tax Allocation Agreement, which
 was signed by DeBrunner but not approved by the AFI Board. The process for AFI’s entry
 into the First 2009 Tax Allocation Agreement appears to have been no different than the
 process for its entry into other tax allocation agreements.160
                   (3) The Statute Of Frauds Is Not Applicable To The First 2009 Tax Allocation
                       Agreement
       Before deciding the issue of the enforceability of the First 2009 Tax Allocation Agreement,
 the Examiner also considered whether Michigan’s statute of frauds has an impact on whether the
 First 2009 Tax Allocation Agreement would be enforceable. The Examiner concludes that it is
 unlikely that the statute of frauds would invalidate the First 2009 Tax Allocation Agreement.
       The only provision of the Michigan statute of frauds that is potentially applicable to the
 First 2009 Tax Allocation Agreement is the requirement that “[a]n agreement that, by its terms
 is not to be performed within 1 year from the making of the agreement” must be “in writing
 and signed with an authorized signature by the party to be charged.”161 Michigan courts have
 “declined to adopt narrow and rigid rules for compliance with the statute of frauds,” and
 instead use a “case-by-case approach.”162
      According to the Michigan Supreme Court, “[t]o determine whether an agreement comes
 within this section, the proper inquiry is whether the contract is capable of performance within
 157 E-mail from W. Marx (Oct. 13, 2010) [ALLY_0245484] (“This payment [under the First 2009 Tax Allocation

    Agreement] would be a Q4 event and will be treated as a capital contribution to ResCap. Deloitte concurs.”).
 158 See Int. of D. DeBrunner, Apr. 18, 2013, at 125:9–126:9 (“As an officer of the company, they asked me to be the

    signer on it. My recollection is it had been reviewed with multiple parties around the company and I was asked
    to sign on that . . . . So, again, you know, there was a delegated authority.”).
 159 See Memorandum, Action Required—ResCap Tax Allocation Agreements for Execution, dated Sept. 9, 2010

    [ALLY_0435003].
 160 See, e.g., Letter from W. Marx to D. DeBrunner (Sept. 30, 2008), at ALLY_0178793 [ALLY_0178779]

    (enclosing 2006 Tax Allocation Agreement for DeBrunner’s signature on behalf of AFI); Letter from W.
    Marx to J. Young (Nov. 13, 2008), at ALLY_0178792 [ALLY_0178779] (enclosing same for Young’s
    signature on behalf of ResCap, and noting the Agreement has “already been executed by David DeBrunner”).
 161 MICH. COMP. LAWS ANN. § 566.132(1)(a) (West 2012).

 162 See Kelly-Stehney & Assocs., Inc. v. Mac Donald’s Indus, Prods., Inc., 693 N.W.2d 394, 397–98 (Mich. Ct.

    App. 2005) (citations omitted).

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 one year of [entry into the agreement].”163 Significantly, “if there is any possibility that [a]
 contract is capable of being completed within a year, it is not within the statute of frauds, even
 though it is clear that the parties may have intended and thought it probable that it would extend
 over a longer period, and even though it does so extend.”164 Finally, “a contract for an indefinite
 term has traditionally been considered capable of performance within the first year.”165

      Section 5.08 of the First 2009 Tax Allocation Agreement provides that it “shall be
 effective as of November 1, 2009, and shall continue in effect until ResCap is no longer
 included in the consolidated Federal income tax return of [AFI] . . . .”166 On its face, the term
 of the First 2009 Tax Allocation Agreement is not delineated by a finite end date, but rather
 remains effective until the occurrence of an event (i.e., ResCap no longer being included in
 AFI’s consolidated federal income tax returns). The term of the agreement is of an indefinite
 duration, and was capable of performance within the first year. Accordingly, the First 2009
 Tax Allocation Agreement is not subject to the one-year rule set forth in Michigan’s statute of
 frauds.

      While a close question, the Examiner concludes that it is more likely than not that the
 First 2009 Tax Allocation Agreement is an enforceable contract.167 The Examiner has
 qualified his conclusion as being “a close question” primarily because cases assessing whether
 a partially executed, unexecuted or oral agreement is enforceable focus on whether the parties’
 conduct or performance reflects an intent to be bound by the contract. By the nature of a tax
 allocation agreement, which generally does not require the parties to engage in any overt acts
 until payments are made thereunder, it is difficult to glean “intent” based on performance or
 lack thereof. Other than AFI calculating its potential payment obligations to ResCap under the
 First 2009 Tax Allocation Agreement (which was required under section 3.02 of the

 163 Wolding v. Clark, No. 10-10644, 2010 WL 4739432, at *6 (E.D. Mich. Nov. 16, 2010) (citations omitted).

 164 Drummey v. Henry, 320 N.W.2d 309, 312 (Mich. Ct. App. 1982); see also Southwell v. Parker Plow, Co., 207

    N.W. 872, 873 (Mich.1926) (citing Smalley v. Mitchell, 68 N.W. 978, 979 (Mich. 1896)).
 165 Adell Broad. Corp. v. Cablevision Indus., 854 F. Supp. 1280, 1290 (E.D. Mich. 1994) (citation omitted); see

    also Phinney v. Verbrugge, 564 N.W.2d 532, 542 (Mich. Ct. App. 1997) (finding that an agreement for an
    indefinite period of employment does not fall within the purview of the statute of frauds).
 166 First 2009 Tax Allocation Agreement, § 5.08 [RC40016362].

 167 In reaching this conclusion, the Examiner also considered whether the officers of a corporation have any

    discretion to ignore or otherwise deviate from the clear and unconditional instructions given by a board of
    directors. There is minimal case law addressing this issue. However, the Examiner was able to find at least
    one other situation where a corporation’s board resolution on a matter was found to be enforceable and bind
    the company even when the officers did not implement the action approved by the board. See Landis v. Sci.
    Mgmt. Corp., No. 7483, 1991 WL 19848 (Del. Ch. Feb. 15, 1991) (Defendant corporation’s board approved a
    finder’s fee of up to $200,000 to be payable upon the consummation of an acquisition of a target company
    found by Plaintiffs. Defendant’s board authorized its officers to pay such fee; however the fee was not paid.
    Plaintiffs brought suit. In holding for the Plaintiffs, the court found that the board resolution satisfied the
    requirements of the statute of frauds and established Defendant’s obligation to pay the fee.); see also Onslow
    Wholesale Plumbing & Elec. Supply, Inc. v. Fisher, 298 S.E.2d 718, 720–21 (N.C. Ct. App. 1982) (failure of
    corporate officer to comply with board resolution deemed to be breach of fiduciary duty).

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 agreement),168 the Investigation has uncovered no evidence of performance by either party.
 Nevertheless, based on the analysis above, including that there was a clear “meeting of the
 minds” as to all terms of the First 2009 Tax Allocation Agreement, the Examiner believes that
 the agreement is more likely than not an enforceable contract.

                   (4) Potential Damages Could Be Significant

       If the First 2009 Tax Allocation Agreement is found to be enforceable, and is not deemed
 to be superseded by the Second 2009 Tax Allocation Agreement, ResCap would be entitled to
 compensation for AFI’s use of ResCap’s tax benefits that have passed to AFI since
 November 1, 2009. As described in Section V.D.2.c(3), AFI will have approximately $5.056
 billion in ResCap tax benefits available for use as of the end of the tax year in which the
 Chapter 11 Cases conclude. Applying a 35% federal income tax rate, that amount corresponds
 to $1.770 billion in potential tax savings. AFI expects to use a substantial portion of the
 $5.056 billion in tax benefits before the end of 2014 and may eventually use all of the tax
 benefits. Assuming all of ResCap’s tax benefits are eventually used by AFI, ResCap would
 have a contractual claim against AFI in the approximate amount of $1.770 billion.

                b. Whether James Young’s Failure To Execute The First 2009 Tax Allocation
                   Agreement Constitutes A Breach Of Fiduciary Duty

      In connection with the First 2009 Tax Allocation Agreement, the Examiner has also
 considered whether Young’s failure to comply with the ResCap Board resolution and sign the
 agreement gives rise to a claim for breach of fiduciary duty.

      As a threshold matter, with respect to choice of law, New York courts follow the
 “internal affairs doctrine,” which provides that “questions relating to the internal affairs of
 corporations are decided in accordance with the law of the place of incorporation.”169 This
 doctrine applies to breach of fiduciary duty claims.170 Accordingly, Delaware law will apply to
 168 See First 2009 Tax Allocation Agreement, § 3.02 [RC40016362]. Section 3.02 of the agreement provides as

    follows:
          Within forty-five (45) days following the filing of the [AFI] Group consolidated Federal income tax
          return . . . [GMAC Mortgage Group LLC] shall notify ResCap of the amount of the Separate ResCap
          Group Tax Liability. Within fifteen (15) days after such notification, Rescap shall pay to [GMAC
          Mortgage Group LLC] or [GMAC Mortgage Group LLC] will pay to ResCap as the circumstances
          warrant, the difference between the Separate ResCap Group Tax Liability and the estimated tax
          payments previously made by ResCap.
 169 ScottishAir Int’l, Inc. v. British Caledonian Grp., 81 F.3d 1224, 1234 (2d Cir. 1996); accord KDW
    Restructuring & Liquidation Servs. LLC v. Greenfield, 874 F. Supp. 2d 213, 221 (S.D.N.Y. 2012) (“New
    York courts decide questions relating to corporate internal affairs in accordance with the law of the place of
    incorporation.”) (citations omitted); Official Comm. of Unsecured Creditors of Hydrogen, L.L.C. v. Blomen
    (In re Hydrogen, L.L.C.), 431 B.R. 337, 346–47 (Bankr. S.D.N.Y. 2010).
 170 The doctrine also applies in the limited liability company context. See In re Hydrogen, L.L.C., 431 B.R. at

    347; Ritchie Capital Mgmt. L.L.C. v. Coventry First LLC, No. 07 Civ. 3494, 2007 WL 2044656, at *4
    (S.D.N.Y. July 17, 2007).

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 consideration of a breach of fiduciary duty claim against Young, because ResCap is domiciled
 in Delaware.171

       As described in Section VII.E, once a company becomes insolvent, the company’s
 officers and directors owe a fiduciary duty, including a duty of good faith,172 to the company
 and its creditors.173 Specifically, a fiduciary will be found to have violated the duty of good
 faith under any of the following circumstances:

                     1) [W]here the fiduciary intentionally acts with a purpose other
                     than that of advancing the best interests of the corporation; 2)
                     where the fiduciary acts with the intent to violate applicable
                     positive law; or 3) where the fiduciary intentionally fails to act
                     in the face of a known duty to act, demonstrating a conscious
                     disregard for his duties.174

       In the event that a plaintiff successfully alleges bad-faith conduct by a fiduciary, the burden
 shifts to the director to “demonstrate that the challenged act or transaction was entirely fair to
 the corporation and its shareholders.”175 “Bad faith” conduct has been defined as an “intentional
 dereliction of duty, a conscious disregard for one’s responsibilities.”176 Notably, the “business
 judgment” rule will not immunize an officer’s decision or action if the officer is interested or
 lacks independence relative to the decision, does not act in good faith, acts in a manner that


 171 See, e.g., KDW Restructuring & Liquidation Servs. LLC, 874 F. Supp. 2d 213, 221 (S.D.N.Y. 2012) (“Jennifer

    is a Delaware corporation; therefore, Delaware law governs this breach of fiduciary duty claim.”); In re
    Hydrogen, L.L.C., 431 B.R. at 346–47; Marino v. Grupo Mundial Tenedora, S.A., 810 F. Supp. 2d 601,
    606–07 (S.D.N.Y. 2011); Kipperman v. Onex Corp., 411 B.R. 805, 867 n.35 (N.D. Ga. 2009) (“The parties
    agree, and the Court has already concluded, that Delaware law applies to Plaintiff’s breach of fiduciary duty
    claim based on the ‘internal affairs doctrine.’”).
 172 While some courts characterize good faith as a separate duty, the courts in Delaware generally treat it as

    subsumed within the duty of loyalty. See, e.g., Nagy v. Bistricer, 770 A.2d 43, 49 n.2 (Del. Ch. 2000) (“If it is
    useful at all as an independent concept, the good faith iteration’s utility may rest in its constant reminder
    (1) that a fiduciary may act disloyally for a variety of reasons other than personal pecuniary interest; and
    (2) that, regardless of his motive, a director who consciously disregards his duties to the corporation and its
    stockholders may suffer a personal judgment for monetary damages for any harm he causes”).
 173 See ASARCO LLC v. Am. Mining Corp., 396 B.R. 278, 314 (S.D. Tex. 2008) (citing Claybrook v. Morris (In re

    Scott Acquisition Corp.), 344 B.R. 283, 289–90 (Bankr. D. Del. 2006) (holding that a subsidiary’s creditors and
    the subsidiary itself are owed a fiduciary duty upon insolvency); Prod. Res. Grp., L.L.C. v. NCT Grp., Inc., 863
    A.2d 772, 790–91 (Del. Ch. 2004) (“When a firm has reached the point of insolvency . . . the firm’s directors are
    said to owe fiduciary duties to the company’s creditors.”)). See also J. Haskell Murray, “Latchkey
    Corporations”: Fiduciary Duties in Wholly Owned, Financially Troubled Subsidiaries, 36 DEL. J. CORP. L. 577,
    596–97 (citing N. Am. Catholic Educ. Programming Found., Inc. v. Gheewalla, 930 A.2d 92, 101 (Del. 2007)).
 174 Burtch v. Seaport Capital, LLC (In re Direct Response Media, Inc.), 466 B.R. 626, 652 (Bankr. D. Del. 2012)

    (citing Brehm v. Eisner (In re Walt Disney Co. Derivative Litig.), 906 A.2d 27, 67 (Del. 2006)).
 175 In re Walt Disney Co. Derivative Litig., 906 A.2d at 52.

 176 Id. at 66–67.



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 cannot be attributed to a rational business purpose, or reaches his decision by a grossly negligent
 process that includes the failure to consider all material facts reasonably available.177
       The case law provides very little guidance as to whether an officer’s failure to comply
 with a board resolution is a per se violation of the officer’s fiduciary duty. However, there is at
 least one case that supports the proposition that an officer’s failure to comply with a board’s
 directive may amount to a breach of fiduciary duty. In Onslow Wholesale Plumbing & Elec.
 Supply, Inc. v. Fisher,178 the general manager of a corporation bought shares of the
 corporation’s stock in his own name, and then transferred the shares to his son. The
 corporation alleged a breach of fiduciary duty because the president and director of the
 corporation instructed the manager to buy the shares for the corporation rather than for himself
 or his son.179 The court, considering agency law, held that the “defendant . . . breached a duty
 to plaintiff corporation by willfully failing to carry out the directive of the board of
 directors.”180 In reaching this holding, the court reasoned that “[t]he directive given to
 defendant by plaintiff’s president and chairmen of the board of directors constituted board
 action and was therefore within the scope of defendant’s agency. [The board] had every
 reason to believe that defendant would carry out this directive faithfully . . . .”181
      Young’s failure to execute the First 2009 Tax Allocation Agreement raises concerns
 because the agreement was unanimously approved by the ResCap Board and was highly
 beneficial to ResCap. Moreover, Young was a co-author of the Joint ResCap-AFI Tax
 Memorandum to ResCap Board that was presented to the ResCap Board on August 6, 2010
 and recommended approval of the agreement.182 Additionally, the Investigation has uncovered
 no evidence that Young attempted to inform other members of the ResCap Board that he did
 not intend to sign the agreement or explain his reasons for not signing. Young himself had no
 specific recollection of speaking to anyone on the ResCap Board about why he did not sign
 the agreement or what was said if, in fact, he did discuss this issue with the ResCap Board.183
 Therefore, as in Onslow, it would appear that the ResCap Board had every reason to believe,
 and in fact did believe, that Young would carry out the ResCap Board’s directive faithfully.184
 177 Brehm v. Eisner, 746 A.2d 244, 264 n.66 (Del. 2000) (internal citation omitted). See also Responsible Person

    v. Best Buy Co. (In re Musicland Holding Corp.), 398 B.R. 761, 788 (Bankr. S.D.N.Y. 2008); FLI Deep
    Marine LLC v. McKim, No. 4138, 2009 WL 1204363, at *2–3 (Del. Ch. Apr. 21, 2009).
 178 298 S.E.2d 718, 719 (N.C. Ct. App. 1982).

 179 See id.

 180 See id. at 721–22.

 181 See id. (finding that officer breached both a statutory duty and also a contractual duty to follow the directions

    of the corporation’s board); see also 3 WILLIAM MEADE FLETCHER ET AL., FLETCHER CYCLOPEDIA OF THE
    LAW OF PRIVATE CORPORATIONS § 1011 (West 2012) (citing the Onslow case for the proposition that
    “[o]fficers have a duty to follow the orders, advice, and direction of the board of directors.”).
 182 See Memorandum, Agreements for Allocation of Taxes, dated Aug. 6 2010, at RC40016374–78
    [RC40016362]; Minutes of a Regular Meeting of the Board of Directors of Residential Capital, LLC, Aug. 6,
    2010, at RC40018820–22 [RC40018729].
 183 See Int. of J. Young, Apr. 22, 2013, at 146:20–147:16.

 184 See Int. of P. West, Apr. 16, 2013, at 58:17–19.



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       Here, there is no factual dispute that Young failed to execute the First 2009 Tax Allocation
 Agreement and fulfill the ResCap Board’s resolution.185 However, the issue is whether Young’s
 conduct rises to the level of a breach of fiduciary duty, which requires a showing that Young
 intentionally acted with a purpose other than to advance ResCap’s interests or intentionally
 failed to act in dereliction of his duties. The first issue the Examiner considered is why Young
 failed to carry out ResCap’s Board resolution to execute the agreement.

       Young’s recollection of the events surrounding his failure to execute the First 2009 Tax
 Allocation Agreement, and in particular the timing of those events, was spotty.186
 Nevertheless, there is evidence that Young was not presented with an execution copy of the
 First 2009 Tax Allocation Agreement until mid-October 2010, approximately two months
 after the ResCap Board authorized Young to sign the agreement.187 The evidence establishes
 that Marx, who was overseeing and coordinating execution of the First 2009 Tax Allocation
 Agreement by all parties,188 did not send Young an execution copy of the First 2009 Tax
 Allocation Agreement until around October 15, 2010.189

      There is evidence that on or around October 18, 2010, shortly after the time that Young
 allegedly received an execution copy of the First 2009 Tax Allocation Agreement, he was
 contacted by Marx who expressed concern that the First 2009 Tax Allocation Agreement
 would require AFI to pay what he described as “potentially large capital contributions” to
 ResCap.190 Marx informed Young that he would be proposing changes to the agreement to
 make it “strict stand-alone” (i.e., he would be removing AFI’s obligation to pay ResCap for
 AFI’s use of ResCap’s tax benefits).191 It was also around this time, although Young does not
 recall precisely when, that someone at AFI (Young believed that to be Mackey) told Young
 not to sign the First 2009 Tax Allocation Agreement because it had not been properly vetted
 and approved by senior-level management at AFI.192

      There is evidence to suggest that, at this juncture, Young did not advocate for ResCap’s
 interests in seeking to enforce or preserve the First 2009 Tax Allocation Agreement. First, it
 185 Notably, Young believed that the August 6, 2010 ResCap Board resolution provided him with discretion not

    to sign the First Tax Allocation Agreement if in reviewing the final document “there was something amiss.”
    Int. of J. Young, Apr. 22, 2013, at 92:6–20.
 186 See Int. of J. Young, March 15, 2013, at 37:13–16; Int. of J. Young, Apr. 22, 2013, at 101:4–104:18.

 187 See Int. of W. Marx, Apr. 18, 2013, at 65:7–12.

 188 See id. at 54:19–25, 57:16–58:5.

 189 See id. at 59:14–18, 65:7–12.

 190 See E-mail from W. Marx (Oct. 18, 2010) [ALLY_0424659] (“In light of the potentially large capital
    contributions that could result under such an agreement, I have requested review and approval by Ally’s
    current senior leadership.”). Notably, Young did not have any recollection of the timeline with respect to
    when he received the execution copy of the First 2009 Tax Allocation Agreement as compared to when he
    was contacted by AFI officers and told not to execute the agreement. See Int. of J. Young, Apr. 22, 2013, at
    101:4–104:18.
 191 See E-mail from W. Marx (Oct. 18, 2010) [ALLY_0424659].

 192 See Int. of J. Young, Apr. 22, 2013, at 10:14–11:7, 97:8–21.



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 appears that Young never considered signing the First 2009 Tax Allocation Agreement after
 being told by AFI that the agreement had not been properly vetted or approved by AFI.193 On
 October 18, 2010, the same day that Young first received e-mails from AFI about the
 proposed change in the tax allocation agreement, and without apparently consulting any other
 member of the ResCap Board, Young sent an e-mail to AFI:

                   Since all tax benefits will ultimately belong to Ally, this is more
                   about how to managerially show the tax impacts on the legal
                   entity of ResCap LLC. ResCap board would only be concerned
                   if cash was being extracted from LLC in an “unfair” way via the
                   tax allocation agreement . . . but I don’t see that happening.194

      Additional communications between Marx and Young confirm that Young did not
 oppose AFI’s efforts to replace the First 2009 Tax Allocation Agreement with a tax allocation
 agreement that would be much less favorable to ResCap. An e-mail from Marx to Mackey
 sent on November 2, 2010195 summarizes Marx’s discussion with Young about the proposed
 new tax allocation agreement (i.e., the Second 2009 Tax Allocation Agreement) and shows
 that Young essentially acquiesced to removing the favorable payment provision in favor of
 ResCap:196

               •   I had a call with Jim Young on an unrelated matter, and tacked
                   on a discussion on the tax allocation to ResCap.

               •   I shared with him the reason why we stopped the execution of
                   the draft agreements, i.e., they would have compelled capital
                   contributions to ResCap on the order of hundreds of millions for
                   2009 and 2010 tax years, versus a cash payment to Ally of $6m
                   if we removed the beneficial language with respect to NOL’s,
                   capital losses and foreign tax credits.

               •   He understood the reason and did not think changing the draft
                   agreements was disadvantageous to ResCap because the change
                   would eliminate beneficial treatment which Ally is not
                   compelled to provide to ResCap.

               •   Jim’s view was that we need to move ahead and present a
                   revised, stand-alone agreement to the ResCap Board for
                   approval and that an executed agreement would be required to
                   allow remittance of funds.
 193 See id. at 97:13–21.

 194 See E-mail from J. Young (Oct. 18, 2010), at EXAM20317195 [EXAM20317195].

 195 See E-mail from W. Marx (Nov. 2, 2010), at ALLY_0424660 [ALLY_0424660].

 196 Marx characterized his discussions with Young as being “never really adversarial” and stated that: “[Young]

    seemed to agree with what we were saying. And you know, there was no coaching, cajoling, convincing.” Int.
    of W. Marx, Apr. 18, 2013, at 131:2–12.

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      It is troubling that Young was so quickly supportive of the Second 2009 Tax Allocation
 Agreement, especially after being informed that: (1) ResCap would have received significant
 sums of money under the First 2009 Tax Allocation Agreement (estimated by AFI to be
 approximately $600 million for the 2009 and 2010 tax years);197 and (2) ResCap would be
 obligated to pay tax on excess inclusion income in the amount of $6 million to AFI under the
 Second 2009 Tax Allocation Agreement.198

      Nevertheless, as described above, establishing “bad faith” conduct requires a high level
 of proof and the evidence must establish that Young intentionally failed to advance ResCap’s
 interests or failed to act in a way that would demonstrate a conscious disregard for his duties.

      Young explained that he did not sign the First 2009 Tax Allocation Agreement because
 he did not believe that it would be enforceable based on AFI’s alleged failure to receive proper
 signing authority:

                   I found out that [AFI] had not gone through the proper level of
                   governance from their perspective. . . . [A]lthough I don’t know
                   their governance process, . . . I was informed that whoever
                   signed the documents didn’t have the authority to do so. And, as
                   you know, of course I’m not going to enter into a transaction
                   where it’s not going to stand up.199

       Moreover, although Young does not have a recollection of any specific discussions he
 had as to whether the agreement would have been enforceable had he signed it, he believes
 that he may have discussed this issue with Tammy Hamzehpour, ResCap’s General Counsel at
 the time.200 Hamzehpour was aware of AFI’s position as she was a recipient or was copied on
 several of the e-mails, including the October 18, 2010 e-mail from Marx where he explains
 that AFI may be proposing changes to the agreement.201 The Investigation has uncovered no
 evidence that Hamzehpour urged Young to sign the First 2009 Tax Allocation Agreement
 after AFI changed its mind or requested that a different ResCap officer sign the agreement.
 Young also explained that, based on his constant dealings with AFI, he “had no reason to
 believe that what [he] was being told was not true,”202 and that he “took [AFI’s] word that
 they understood their governance and that they were being honest and truthful of which [he]

 197 Young does not recall ever disclosing to the ResCap Board the amount that ResCap might have been owed

    under the First 2009 Tax Allocation Agreement. See Int. of J. Young, Apr. 22, 2013, at 148:2–149:11.
 198 See e-mail from W. Marx (Nov. 2, 2010), at ALLY_0424660 [ALLY_0424660]; see also E-mail from W.

    Marx (Dec. 22, 2010) at ALLY_0424667 [ALLY_0424667] (noting that “Jim Young was very supportive” of
    AFI’s efforts to address the fairness concerns raised by counsel to the Independent Directors concerning the
    Second 2009 Tax Allocation Agreement).
 199 See Int. of J. Young, Apr. 22, 2013, at 97:13–21.

 200 See id. at 98:5–15.

 201 See E-mail from W. Marx (Oct. 18, 2010) [ALLY_0424659].

 202 See Int. of J. Young, Apr. 22, 2013, at 98:14–15.



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 never had a reason to doubt.”203 The Investigation has uncovered no evidence to dispute that
 what Young says he believed is not true.

       Moreover, Young testified that he did not attempt to compel AFI to perform under the
 First 2009 Tax Allocation Agreement because he believed that doing so would possibly strain
 the AFI/ResCap relationship and make it less likely that ResCap would receive needed capital
 infusions from AFI in the future:

                   [S]omewhere along the line before these agreements were
                   executed, we learned that our counterparty hadn’t vetted it. And
                   this counterparty by the way is very important to us. They were
                   providing capital and liquidity to separate transactions for a long
                   period of time where we couldn’t go to third parties. Very
                   important for us. And the fact that they hadn’t gone through
                   their process, certainly as a businessperson at that time, given
                   the importance of this counterparty, we weren’t going to talk
                   about a short-term forcing them into a transaction that could
                   ultimately turn off our ability to do further transactions with
                   them.204

 Although the Investigation has uncovered no evidence beyond Young’s testimony to support the
 notion that AFI would be less inclined or less incentivized to support ResCap if the First 2009
 Tax Allocation Agreement had been enforced by ResCap,205 the Examiner has no basis to doubt
 Young’s concerns. Significantly, regardless of whether Young’s belief was correct, it may
 demonstrate that his actions were motivated by what he believed was in ResCap’s best interests.

      Finally, Young’s state of mind is relevant in determining whether his actions or inactions
 were motivated by bad faith. During his interview, Young testified that he did not (and still
 does not) view a tax allocation agreement as a tool for capital-generation purposes. On
 multiple occasions, Young stated his belief that a tax allocation agreement is intended to
 allocate tax attributes between companies on a “stand-alone” basis and to be used as an
 accounting tool to assist readers of financial statements so they can understand financial
 results, but it is not intended to “transfer value” or be a vehicle through which a subsidiary
 compels capital contributions from its parent.206 Based on Young’s understanding of the
 purpose of a tax allocation agreement, Young viewed the favorable payment provision to
 ResCap in the First 2009 Tax Allocation Agreement as a “windfall,” because it was better than
 stand-alone treatment.207 Putting aside Young’s misconception of the purpose of a tax
 203 See id. at 162:9–13.

 204 See id. at 160:19–161:10 (emphasis added).

 205 See id. at 173:16–22 (Question: “Did anyone at [AFI] ever suggest in words or substance to you that if

    ResCap sought to enforce the [First 2009 Tax Allocation Agreement], that there would be consequences to
    doing so?” Answer: “No discussion like that ever occurred.”).
 206 See id. at 63:10–22, 77:8–78:2, 82:16–83:23, 139:18–21.

 207 See id. at 76:10–16.



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 allocation agreement,208 the evidence suggests that Young’s lack of vigor in seeking to enforce
 the First 2009 Tax Allocation Agreement against AFI can be explained by his belief that the
 agreement should not be used to compel capital contributions against AFI.

       Young’s belief also appears to have been shared by the ResCap Board, as evidenced by
 the fact that the ResCap Board unanimously approved the Second 2009 Tax Allocation
 Agreement. Moreover, the Investigation has uncovered no evidence that anyone at ResCap,
 including the Independent Directors, were ever critical of Young for failing to sign, or for
 failing to seek to compel AFI to be bound by, the First 2009 Tax Allocation Agreement. To
 the contrary, West, like Young, described the favorable payment provision in the First 2009
 Tax Allocation Agreement as a “windfall” and was satisfied to achieve “stand-alone”
 treatment for ResCap under a tax allocation agreement.209

       Based on the evidence revealed in the Investigation concerning Young’s motivations and
 actions, the Examiner concludes that, while a close question, it is more likely than not that a claim
 for breach of fiduciary duty210 against Young, based on his failure to carry out the ResCap Board’s
 resolution authorizing him to sign the First 2009 Tax Allocation Agreement, would not prevail.

              c. The Second 2009 Tax Allocation Agreement Is Likely To Be Avoided As A
                 Fraudulent Transfer

      The Examiner next considers whether there is any basis to challenge the Second 2009
 Tax Allocation Agreement, which, by its terms, “supersede[d] any earlier agreement for the
 allocation of income taxes between the parties.”211 The Examiner first considered whether
 ResCap’s entry into the agreement is avoidable as a constructive fraudulent transfer. By its
 plain terms, section 548 of the Bankruptcy Code permits the avoidance of an obligation
 incurred within two years before the commencement date of a bankruptcy filing,212 including
 208 The purpose of a tax allocation agreement is to allocate the responsibilities for payment of tax liabilities and

    the right to receive tax refunds among affiliated entities (not to determine how tax attributes are reported in
    financial statements). These agreements are put into place to determine cash flow rights and may provide for
    different treatment than strict “stand-alone.” See Section V.D.1.b (providing a complete discussion regarding
    the purpose of tax allocation agreements).
 209 See Int. of West, Apr. 16, 2013, at 17:20–24, 39:23–40:19.

 210 The circumstances surrounding Young’s failure to execute the First 2009 Tax Allocation Agreement appear to

    implicate the fiduciary duty of good faith more so than the duty of care. However, for many of the same
    reasons discussed above, the Examiner believes that a claim based on a breach of duty of care would not
    prevail. In any event, a breach based on a violation of the duty of care (in the absence of willful misconduct or
    bad faith) is subject to the exculpation and indemnification provisions contained in the 2008 ResCap
    Amended LLC Agreement. See 2008 ResCap Amended LLC Agreement, §§ 17, 18 [KL000000433]; see also
    Section IV.B.1.e(3)–(4) (providing a more detailed discussion of the 2008 ResCap Amended LLC
    Agreement).
 211 See Second 2009 Tax Allocation Agreement, § 5.04 [RC00028796].

 212 See 11 U.S.C. § 548(a)(1) (2012); see also 5 COLLIER ON BANKRUPTCY ¶ 548.03[4] (Alan N. Resnick &

    Henry J. Sommer eds., 16th ed) (“Section 548 not only gives the estate representative the power to avoid
    transfers, but also the power to avoid obligations.”).

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 contractual obligations incurred within the two-year reach-back period.213 Given that
 ResCap’s entry into the Second 2009 Tax Allocation Agreement occurred in January 2011,
 ResCap’s obligations under the agreement were incurred within the two-year reach-back
 period contained in section 548 of the Bankruptcy Code.214 Moreover, the Second 2009 Tax
 Allocation Agreement was executed in January 2011, at a time when ResCap was insolvent.215
 Therefore, the key issue is whether ResCap received reasonably equivalent value for entering
 into the Second 2009 Tax Allocation Agreement.
       Based on the Examiner’s prior conclusion that there may be a basis to find that the First
 2009 Tax Allocation Agreement is enforceable, the proper starting point is to compare the
 consideration ResCap would be entitled to under the Second 2009 Tax Allocation Agreement
 as opposed to the First 2009 Tax Allocation Agreement. When the agreements are compared,
 there is little doubt that the Second 2009 Tax Allocation Agreement placed ResCap in a much
 worse position and provided no benefit to ResCap at all.216 ResCap went from being a party to
 an agreement obligating AFI to pay ResCap for AFI’s use of ResCap’s tax benefits, to being a
 party to an agreement that eliminated this benefit and provided no possibility of payments
 being made to ResCap.217 In fact, there is no provision in the Second 2009 Tax Allocation
 Agreement that permits any possibility of payments being made to ResCap (other than an
 adjustment for an erroneous overpayment).218 ResCap could only take into account the tax
 benefits it generates as carryovers in calculating its positive tax liability on a stand-alone basis
 for a future year.219
 213 See Edner v. Mathews, 58 F. Supp. 486, 488 (W.D. Pa. 1944) (considering whether the contract in question

    was subject to avoidance on constructive fraud grounds but rejecting claim based on exchange of fair
    consideration); Sw. Holdings, L.L.C., v. Kohlberg & Co. (In re Sw. Supermkts., LLC), 325 B.R. 417, 431
    (Bankr. D. Az. 2005) (noting that “if the underlying contracts are avoidable as fraudulent transfers, then the
    Debtor did not receive reasonably equivalent value by satisfying an obligation that is void or voidable”).
 214 See 5 COLLIER ON BANKRUPTCY ¶ 548.03[5] (Alan N. Resnick & Henry J. Sommer eds., 16th ed) (“[A]n

    obligation is incurred when it becomes legally binding under applicable nonbankruptcy law.”) (citing
    Advanced Telecomm. Network, Inc. v. Allen (In re Advanced Telecomm. Network, Inc.), 490 F.3d 1325 (11th
    Cir. 2007) and TSIC, Inc. v. Thalheimer (In re TSIC, Inc.), 428 B.R. 103 (Bankr. D. Del. 2010) for the
    proposition that obligations arising under settlement and severance agreements, respectively, incurred when
    agreements executed by parties).
 215 See Section VI (setting forth the solvency analysis).

 216 Even Marx acknowledges that the Second 2009 Tax Allocation Agreement, which AFI has characterized as a

    strict stand-alone agreement, is not as beneficial to ResCap as the First 2009 Tax Allocation Agreement. See
    E-mail from W. Marx (Oct. 13, 2010) [ALLY_0245484] (“[AFI] would propose a new strict stand-alone
    agreement with ResCap for which the ResCap Board would likely require a fairness opinion of outside
    counsel . . . . This will likely be unpopular as the Board has already been presented and approved a more
    beneficial agreement.”).
 217 Compare First 2009 Tax Allocation Agreement, at RC40016379–84 [RC40016362], with Second 2009 Tax

    Allocation Agreement, §§ 1.03D, 2.03 [RC00028796].
 218 See Second 2009 Tax Allocation Agreement, §§ 1.03D, 2.03 [RC00028796].

 219 See id. § 1.03D [RC00028796] (“For the avoidance of doubt, any [tax benefits] that are generated by the

    ResCap Group in any taxable period (to the extent not previously utilized pursuant to this sentence in prior
    periods) shall be taken into account and treated as available and unutilized in determining the Separate
    ResCap Group Tax Liability for any subsequent periods . . . .”).

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      Even when the Second 2009 Tax Allocation Agreement is considered on its own (and
 assuming that the First 2009 Tax Allocation Agreement was not enforceable and looking at
 ResCap’s situation as it existed before the First 2009 Tax Allocation Agreement), serious
 questions arise as to whether ResCap received any consideration at all. The only foreseeable
 consequence of ResCap’s entry into the Second 2009 Tax Allocation Agreement was the
 incurrence of an obligation by ResCap to pay AFI amounts of tax on account of excess
 inclusion income220—an obligation that ResCap did not have prior to the Second 2009 Tax
 Allocation Agreement because it was a disregarded entity—without any corresponding right
 to be compensated for its tax benefits. Again, the Second 2009 Tax Allocation Agreement
 contained no provision permitting any possibility of payments being made to ResCap.

       Although an argument can be asserted that ResCap may have received value because the
 2006 Amended Operating Agreement required that ResCap and AFI be parties to a tax
 allocation agreement,221 such argument is unpersuasive in light of ResCap’s financial
 condition at the time and the fact that the Second 2009 Tax Allocation Agreement did not
 provide for two-way payments. Although the Second 2009 Tax Allocation Agreement
 provides for “stand-alone” treatment, it provides for one-way stand-alone treatment in favor of
 AFI. To comply with the 2006 Amended Operating Agreement, the Second 2009 Tax
 Allocation Agreement should have provided for two-way stand-alone treatment, even if the
 parties did not believe that ResCap would be in a position to be able to use its losses any time
 soon. Moreover, given ResCap’s financial condition and the fact that its obligation to pay
 taxes on excess inclusion income was known, the agreement could have been drafted to allow
 ResCap to use its substantial losses to offset the excess inclusion income, even though such
 offset is not available under federal tax laws. Based on the foregoing, the Examiner concludes
 that the evidence supports the proposition that ResCap received no consideration, much less
 fair consideration or REV in exchange for entering into the Second 2009 Tax Allocation
 Agreement.

       In reaching this determination, the Examiner is conscious of the fact that AFI made
 significant capital contributions to ResCap in and around the time that the Second 2009 Tax
 Allocation Agreement was executed and may have conferred other benefits upon ResCap.222
 However, the Examiner finds no basis to link ResCap’s entry into the Second 2009 Tax
 Allocation Agreement with any other transaction. The Investigation has uncovered no
 document or any other evidence suggesting that any transaction, including the payment of any
 capital contribution from AFI to ResCap, was conditioned or dependent on ResCap’s entry
 into the Second 2009 Tax Allocation Agreement.


 220 Well before the Second 2009 Tax Allocation Agreement was entered in January 2011, Marx informed officers

    of both AFI and ResCap that one consequence of the Second 2009 Tax Allocation Agreement would be that
    ResCap would have to pay AFI income of the magnitude of approximately $6 million for 2009. See E-mail
    from W. Marx (Oct. 15, 2010), at ALLY_0424662 [ALLY_0424660]; E-mail from W. Marx (Nov. 2, 2010),
    at ALLY_0424660 [ALLY_0424660].
 221 2006 Amended Operating Agreement, § 2(b)(iii) [ALLY_0041818].

 222 See Capital Contributions to ResCap Legal Entity as of January 31, 2012 [ALLY_PEO_0075634].



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      Based on the foregoing, the Examiner concludes that a claim to avoid the Second 2009
 Tax Allocation Agreement on constructive fraudulent transfer grounds is likely to prevail. The
 impact of avoidance is to nullify the transfer in question and place the parties back in the
 position that they were prior to the transaction.223 Voiding the Second 2009 Tax Allocation
 Agreement has two important implications. First, if the First 2009 Tax Allocation Agreement
 could be found to be enforceable as discussed in Section VII.K.2.a, it would give rise to a
 significant contractual claim against AFI. Second, the Debtors would be able to recover any
 amounts paid by ResCap to AFI under the Second 2009 Tax Allocation Agreement (regardless
 of whether or not the First 2009 Tax Allocation Agreement is enforceable). If the Second 2009
 Tax Allocation Agreement is avoided, then any payments made pursuant to the agreement will
 not have been made for REV and may themselves be avoided as constructive fraudulent
 transfers. In addition, the Debtors may seek equitable remedies against AFI, such as unjust
 enrichment, to recover amounts paid under the Second 2009 Tax Allocation Agreement. The
 Examiner currently estimates those amounts to be, in the aggregate, approximately
 $50 million.224

              d. Potential Additional Basis To Set Aside A Tax Allocation Agreement Between A
                 Parent Company And Its Subsidiary

      The Examiner has also considered whether there are any grounds, in addition to
 constructive fraudulent conveyance, to challenge the Second 2009 Tax Allocation Agreement.

      Courts generally agree that members of a consolidated tax filing group are free to adjust
 among themselves each member’s rights and responsibilities regarding tax payments and
 refunds.225 In the context of a parent corporation and its subsidiaries or affiliates, courts generally
 enforce the terms of tax allocation agreements absent evidence of fraud or overreaching.226
 Typically, courts express this proposition by stating that a tax allocation agreement will not be set
 aside absent “gross and palpable overreaching” by the parent company.227 One factor courts
 223 See Gibson v. United States (In re Russell), 927 F.2d 413, at 417; see also 5 COLLIER ON BANKRUPTCY

    ¶ 548.10[2] (Alan N. Resnick & Henry J. Sommer eds., 16th ed.) (“Avoidance is the setting aside or
    nullification of a transaction. Nullification generally means that the transfer is retroactively ineffective
    and . . . the trustee may act as if the transfer had not occurred. If the trustee avoids an obligation, nullification
    means that the transferee acquired no rights as a result of the transaction and that the trustee need not consider
    the obligation valid as against the estate.”).
 224 SeeOrdinary & Capital Losses Generated by ResCap Companies Analysis, prepared by AFI
    [ALLY_0424653].
 225 See Unofficial Comm. of Unsecured Creditors v. PSS S.S. Co. (In re Prudential Lines, Inc.), 928 F.2d 565,

    570 (2d Cir. 1991); W. Dealer Mgmt., Inc. v. England (In re Bob-Richards Chrysler-Plymouth Corp.), 473
    F.2d 262, 264–65 (9th Cir. 1973); Superintendent of Ins. v. First Central Fin. Corp. (In re First Central Fin.
    Corp.), 269 B.R. 481, 488–89 (Bankr. E.D.N.Y. 2001).
 226 Franklin Sav. Corp. v. Franklin Sav. Ass’n (In re Franklin Sav. Corp.), 159 B.R. 9, 29–30 (Bankr. D. Kan.

    1993). See also In re First Cent. Fin. Corp., 269 B.R. at 489–90; In re All Prods. Co., 32 B.R. 811, 814 (E.D.
    Mich. 1983) (citing In re Bob Richards Chrysler-Plymouth Corp, 473 F.2d 262, 264 n.4 (9th Cir. 1973)).
 227 See In re Franklin Sav. Corp., 159 B.R. at 30 (quoting 18A AM. JUR. 2d CONVERSION § 802 (Feb. 2013)); see also

    In re Coral Petroleum, Inc., 60 B.R. 377, 389–90 (Bankr. S.D. Tex. 1986); In re All Prods. Co., 32 B.R. at 814.

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 consider is whether entry into the contract in question was the result of a breach of fiduciary duty.
 For example, in In re First Central Financial Corp., the court held that “in the absence of
 overreaching or breach of fiduciary duty in the creation or implementation of the [t]ax [a]llocation
 [a]greement, the [a]greement will be given effect. . . .”228

       In short, a determination as to whether a parent has engaged in conduct that amounts to
 overreaching is extremely fact-specific, and the courts have established a high threshold to set
 aside a tax allocation agreement. The Examiner was able to locate only one example where a
 court determined that a tax allocation agreement between a parent and its subsidiary was the
 product of such improper conduct to warrant invalidating the contract. In Lincoln Savings &
 Loan v. Wall, a parent company was strapped for funds to meet debt service on a $51 million
 obligation and had stored up NOL carryforwards that it could use against its subsidiary’s
 earnings.229 In order to upstream funds from the subsidiary to the parent, tax agreements were
 executed that required the subsidiary to remit to its parent on a quarterly basis the tax it would
 owe based on its “net profits” calculated under GAAP.230 As the tax agreements were
 interpreted and applied by the parent company, the subsidiary was required to forward all of
 its GAAP profits to the parent even though it owed no taxes on a stand-alone basis.231 The
 court ultimately determined that because the subsidiary owed no taxes, it was in effect making
 unsecured loans to its parent when it remitted payments under the agreements.232 The court
 referred to the tax allocation agreement as a “pretext for improperly stripping [the debtor] of
 its funds.”233 Moreover, the court also held that the tax allocation agreements at issue were
 improperly used to pass fictitious profits of contrived transactions from the subsidiary to the
 parent in order to fund the parent’s needs for its own obligations.234

       The Examiner considers below whether ResCap’s entry into the Second 2009 Tax
 Allocation Agreement was the result of overreaching on the part of AFI such as would warrant
 setting aside the contract.

                   e. The Second 2009 Tax Allocation Agreement Is Not The Product Of
                      Overreaching By AFI

      As set forth in Section V.D.2.c(3), the Second 2009 Tax Allocation Agreement purports
 to be a pure stand-alone agreement in that ResCap is obligated to pay to AFI its hypothetical
 228 In re First Cent. Fin. Corp., 269 B.R. at 500–01 (citing In re Franklin Sav. Corp., 159 B.R. at 33); Nisselson

    v. Drew Indus. (In re White Metal Rolling & Stamping Corp.), 222 B.R. 417, 423 (Bankr. S.D.N.Y. 1998); see
    also In re Franklin Sav. Corp., 159 B.R. at 30, 33 (holding that “the agreement will control unless it can be
    shown that the advantaged member has acted ‘unfairly’ in the fiduciary relationship.” According to the court,
    “the concept of unfairness equates to ‘gross and palpable overreaching’”).
 229 Lincoln Sav. & Loan v. Wall, 743 F. Supp. 901, 908 (D.D.C. 1990).

 230 Id.

 231 Id. at 910.

 232 Id. at 911.

 233 Id. at 910.

 234 Id. at 911.



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 separate tax liability each year. However, the Second 2009 Tax Allocation Agreement does
 not appear to operate as a pure stand-alone agreement because there is nothing requiring AFI
 to compensate ResCap for any refund that ResCap might be entitled to on a stand-alone basis.
 There is simply no provision in the Second 2009 Tax Allocation Agreement that provides for
 any payment (other than an adjustment for an erroneous overpayment) to ResCap.
 Additionally, the agreement was executed at a time (January 2011) when all of the available
 evidence suggests that ResCap was in financial distress and could ill afford to make payments
 it otherwise would not be required to make. Accordingly, on its face, the Second 2009 Tax
 Allocation Agreement only benefits AFI and appears to be objectively unfair to ResCap and
 its creditors. Moreover, in the absence of a tax allocation agreement, ResCap, as a disregarded
 entity, would have had no liability whatsoever to make tax payments.
      Although the Second 2009 Tax Allocation Agreement may have been unfair to ResCap,
 it would be difficult to find that it was the result of “gross and palpable overreaching” by AFI.
 As is discussed in Section VII.K.2.d, courts are highly reluctant to set aside tax allocation
 agreements that are willingly entered into between a parent and its subsidiary, even if such
 agreements only benefit the parent or appear one-sided.
     Here, there are several facts that militate both for and against a finding that the Second
 2009 Tax Allocation Agreement should be set aside on equitable grounds. On one hand,
 ResCap was insolvent when the Second 2009 Tax Allocation Agreement was executed. AFI
 proposed an agreement which imposed a one-sided payment obligation on ResCap at a time
 when ResCap could least afford to dispense with its capital.
      Moreover, section 2(b)(iii) of the 2006 Amended Operating Agreement contains an
 express requirement that ResCap and AFI maintain “an income tax allocation agreement that
 shall provide for two-way sharing payments based on the separately calculated tax liability or
 benefit of ResCap.” The Second 2009 Tax Allocation Agreement would fail to qualify as a
 “two-way-sharing agreement,” even under the most expansive interpretation of that phrase.
 Accordingly, the Second 2009 Tax Allocation Agreement would likely be found to be in
 violation of the 2006 Amended Operating Agreement.235 This violation further supports the
 conclusion that the agreement is unfair based on the standard established by the parties.236
      On the other hand, the Investigation revealed no direct evidence that AFI exerted undue
 influence over ResCap to execute the Second 2009 Tax Allocation Agreement.237 To the
 235 A third-party beneficiary creditor might bring suit to invalidate the Second 2009 Tax Allocation Agreement as

    violation of the 2006 Amended Operating Agreement, but its remedy would be limited to specific
    performance. See 2006 Amended Operating Agreement, §11.
 236 Interestingly,
                  Marx is of the view that the First 2009 Tax Allocation Agreement was probably not in
    compliance with the 2006 Amended Operating Agreement because it provided, in his view, better than
    “stand-alone” treatment to ResCap. Int. of W. Marx, Apr. 18, 2013, at 34:3–12.
 237 See id. at 131:2–12 (“No, no, there was no coaching or counseling. It was, you know, my recollection of this

    whole back and forth was that as soon as we brought up our issue with the first agreement, [Young] was like,
    ‘Oh yeah, I see that. You know, that’s okay. If we need to have some further discussion, let’s do it.’ You
    know, he got it. He seemed to agree with what we were saying. And you know, there was no coaching,
    cajoling, convincing. It was just, oh yeah, I understand that. That makes sense.”).

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 contrary, the Investigation revealed that the ResCap Board engaged in a thorough review
 process before approving the Second 2009 Tax Allocation Agreement. Significantly, and as
 described further below, the Second 2009 Tax Allocation Agreement was approved by the
 Independent Directors of ResCap, who had their own counsel. Counsel to the Independent
 Directors reviewed and commented on the agreement and engaged in direct discussions with
 AFI concerning the terms of the agreement.238 Although the ResCap Board’s decision to
 approve the Second 2009 Tax Allocation Agreement was questionable, the decision-making
 process was thorough and ResCap’s entry into the agreement appears to have been of its own
 free will.

      Moreover, unlike the facts in Lincoln Savings & Loan v. Wall, the Investigation has
 uncovered no evidence that the Second 2009 Tax Allocation Agreement was devised by AFI
 as a nefarious scheme to extract significant payments from ResCap. Indeed, putting aside
 ResCap’s favorable position under the First 2009 Tax Allocation Agreement, the Second 2009
 Tax Allocation Agreement actually had little impact on ResCap as compared to its status as a
 disregarded entity. As a result of ResCap’s disregarded entity status, AFI had the right to use
 ResCap’s tax benefits before the parties entered into a tax allocation agreement for the 2009
 tax year. Moreover, the amount of the payments that ResCap made to AFI under the Second
 2009 Tax Allocation Agreement on account of excess inclusion income (an obligation that
 ResCap did not have as a disregarded entity prior to entering into the Second 2009 Tax
 Allocation Agreement) was relatively small, totaling approximately $50 million over a three-
 year period.239

       Finally, the evidence supports the finding that AFI proposed the Second 2009 Tax
 Allocation Agreement because it did not want to be contractually obligated under the First
 2009 Tax Allocation Agreement to have to make what it described as “potentially large capital
 contributions” to ResCap.240 Notably, AFI had provided ResCap with approximately $2.7
 billion in capital in the year preceding entry into the Second 2009 Tax Allocation Agreement.
 AFI’s position was that any additional capital contributions to ResCap needed to be approved
 by the AFI Board.241 Putting aside the issue of whether AFI’s position was correct, the
 evidence establishes that the “capital contribution” issue was the reason for AFI proposing the
 Second 2009 Tax Allocation Agreement.242 As such, from AFI’s perspective, the Second 2009
 Tax Allocation Agreement was intended to put the parties in a neutral or “stand-alone”
 position.




 238 E-mail from W. Marx (Dec. 22, 2010), at ALLY_0424667 [ALLY_0424667]; E-mail from M. Connolly

    (Dec. 16, 2010), at EXAM10432518 [EXAM10432517].
 239 See Exhibit V.D.2.c(3)—2.

 240 See E-mail from W. Marx (Oct. 18, 2010) [ALLY_0424659].

 241 See id.

 242 See id.



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 It appears, however, that ResCap’s obligation to pay tax on excess inclusion income was
 simply not given significant consideration by the parties.243

      In short, while the Second 2009 Tax Allocation Agreement may not be fair to ResCap
 under the circumstances, after considering and weighing the evidence uncovered during the
 Investigation, the Examiner does not believe that the agreement was the result of
 “overreaching” by AFI that would warrant setting the agreement aside. The Examiner’s
 conclusion is influenced by the fact that the Second 2009 Tax Allocation Agreement was
 approved by ResCap’s Independent Directors who were advised by their own counsel.

       Accordingly, given the high threshold established by the cases to set aside a written tax
 allocation agreement, while a close question, the Examiner concludes it is more likely than not
 that a claim to set aside the Second 2009 Tax Allocation Agreement on equitable theories
 relating to overreaching would not prevail. As such, ResCap would not be entitled to seek
 equitable remedies against AFI, including a claim based on unjust enrichment.244

              f. The ResCap Board’s Approval Of The Second 2009 Tax Allocation Agreement
                 Likely Does Not Constitute A Breach Of Fiduciary Duty

      The Examiner has also considered whether ResCap’s entry into the Second 2009 Tax
 Allocation Agreement gives rise to a breach of fiduciary duty claim against ResCap’s
 directors. In general, fiduciary duties consist of the: (1) duty of due care; and (2) duty of
 loyalty and good faith.245 New York courts have held that, under Delaware law, directors and
 officers of an insolvent wholly owned subsidiary owe fiduciary duties to the subsidiary and its




 243 Although Marx informed Young that one consequence of the Second 2009 Tax Allocation Agreement would

    be ResCap’s obligation to pay AFI $6 million in tax on excess inclusion income, the Investigation has
    revealed that this was not considered by the ResCap Board. See Int. of P. West, Apr. 16, 2013, at 95:14–
    96:13, 97:25–98:8. Notably, during the interview of Isaac Grossman, tax counsel for the Independent
    Directors of ResCap, he stated that he was not aware of the possibility of ResCap having to pay tax on excess
    inclusion income in his review and analysis of the Second 2009 Tax Allocation Agreement. See Int. of I.
    Grossman, Apr. 16, 2013, at 27:22–28:9.
 244 See Goldman v. Met Life Ins. Co., 841 N.E.2d 742, 746–47 (N.Y. 2005) (holding that under New York law,

    equitable remedies are inappropriate when remedies at law are available under an existing contract); Petrello
    v. White, 412 F. Supp. 2d 215, 233 (E.D.N.Y. 2006) (“New York Courts and the Second Circuit have
    consistently held ‘that the existence of a written agreement precludes a finding of unjust enrichment.’”)
    (citations omitted). The Examiner’s conclusion in Section VII.K.2.e of the Report does not impact his earlier
    conclusion that the Second 2009 Tax Allocation Agreement may be avoided as a constructive fraudulent
    transfer and payments made thereunder may be recoverable on equitable grounds, including unjust
    enrichment.
 245 See McMullin v. Beran, 765 A.2d 910, 917 (Del. 2000); Malone v. Brincat, 722 A.2d 5, 10 (Del. 1998); see also

    Buckley v. O’Hanlon, No. 04-955, 2007 WL 956947, at *3 (D. Del. Mar. 28, 2007); Official Comm. of
    Unsecured Creditors of Fedders N. Am. v. Goldman Sachs Credit Partners L.P. (In re Fedders N. Am., Inc.), 405
    B.R. 527, 539 (Bankr. D. Del. 2009).

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 creditors, in addition to the parent corporation.246 When ResCap entered into the Second 2009
 Tax Allocation Agreement in January 2011, ResCap was insolvent. Accordingly, the ResCap
 Board had a duty to act in the best interest of ResCap and its creditors when it authorized the
 company to enter into the agreement.

      Here, a difficult question is presented as to whether the ResCap Board may have
 breached its fiduciary duties to ResCap and its creditors. On the one hand, the Second 2009
 Tax Allocation Agreement was unfavorable to ResCap, especially in comparison to the First
 2009 Tax Allocation Agreement approved by the ResCap Board (but not signed by Young on
 behalf of ResCap). Although the Second 2009 Tax Allocation Agreement may have been
 described as a “stand-alone” tax agreement, the agreement contained no provision providing
 even a possibility that ResCap would receive any payments from AFI (other than an
 adjustment for an erroneous overpayment). The ResCap Board knew this, or should have
 known this, as Morrison Cohen, counsel to the Independent Directors, characterized key
 aspects of the agreement as being “very unfair” and suggested substantive revisions.247 Certain
 of Morrison Cohen’s comments were incorporated into the Second 2009 Tax Allocation
 Agreement, but those comments simply clarified ResCap’s ability to use carryovers of tax
 benefits as an offset in calculating its stand-alone tax liability in future years. They did not
 address the fact that there was no possibility that ResCap could receive a cash payment under
 the agreement. Yet, the ResCap Board approved entry into the Second 2009 Tax Allocation
 Agreement anyway.

      On the other hand, as described above, the Investigation revealed that the ResCap Board
 engaged in a thorough review and approval process. A draft of the Second 2009 Tax
 Allocation Agreement was discussed at a November 5, 2010 ResCap Board meeting and then
 discussed again at a subsequent ResCap Board meeting that took place on December 9,
 2010.248 Following that meeting, Morrison Cohen reviewed and commented on the
 agreement.249 Then on December 21, 2010, a conference call occurred between ResCap, AFI


 246 See J. Haskell Murray, “Latchkey Corporations”: Fiduciary Duties in Wholly Owned, Financially Troubled

    Subsidiaries, 36 DEL. J. CORP. L. 577, 597–78 (citing Official Comm. of Unsecured Creditors of RSL Com
    Primecall, Inc. v. Beckoff (In Re RSL COM Primecall, Inc.), Nos. 01-11457-69, Adv. 03-2176, 2003 WL
    22989669, at *13 (Bankr. S.D.N.Y. Dec. 11 2003) (“It would be absurd to hold that the doctrine that directors
    owe special duties after insolvency is inapplicable when the insolvent company is a subsidiary of another
    corporation. That is precisely when a director must be most acutely sensitive to the needs of a corporation’s
    separate community of interests, including both the parent shareholder and the corporation’s creditors.”);
    Roselink Investors, L.L.C. v. Shenkman, 386 F. Supp. 2d 209, 215 (S.D.N.Y. 2004) (“[D]irectors of a wholly-
    owned subsidiary, who otherwise would owe fiduciary duties only to the parent, also owe fiduciary duties to
    creditors of the subsidiary when the subsidiary enters ‘the zone of insolvency.”’)).
 247 E-mail from M. Connolly (Dec. 16, 2010), at EXAM10432518 [EXAM10432517].

 248 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Nov. 5, 2010, at

    RC40018848 [RC40018729]; E-mail from T. Hamzehpour (Dec. 16, 2010), at EXAM10432502
    [EXAM10432501].
 249 E-mail from M. Connolly (Dec. 16, 2010), at EXAM10432518 [EXAM10432517].



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 and Morrison Cohen, in which it appears that ResCap and Morrison Cohen “pressed AFI fairly
 hard about” and “took several runs at” the fairness issue.250

      Based on the foregoing, it would be difficult to prove that the ResCap Board breached its
 “duty of care,”251 which focuses on the decision-making process and generally requires a
 fiduciary to inform himself of all material information reasonably available before making a
 business decision.252 Indeed, as described in Section VII.E, a director’s or officer’s reliance on
 legal or other expert advice is almost a per se defense to a claim based on a breach of a duty of
 care.253

      The fact that the Second 2009 Tax Allocation Agreement was considered and approved
 by the Independent Directors also cuts strongly against any claim that the ResCap Board may
 have breached its “duty of loyalty.” Here, despite the fact that certain aspects of the Second
 2009 Tax Allocation Agreement may be unfair, the Investigation has uncovered no evidence
 to establish that the ResCap Board engaged in self-dealing. To the contrary, the Investigation
 has revealed that the Board, including the Independent Directors, specifically considered
 whether any “interested directors” had a conflict of interest, and concluded there were no
 conflicts.254 There is also evidence that the Independent Directors believed that the Second
 2009 Tax Allocation Agreement was favorable to ResCap.255




 250 See
       Conference call invitation (subject: “Discuss ResCap—Ally Tax Allocation Agreement”) from T.
    Hamzehpour [EXAM10902438]; see also E-mail from W. Marx (Dec. 20, 2010), at EXAM10432501
    [EXAM10432501]; E-mail from W. Marx (Dec. 22, 2010), at ALLY_0424667 [ALLY_0424667].
 251 As described above, a breach based on a violation of the duty of care (in the absence of willful misconduct or

    bad faith) is subject to the exculpation and indemnification provisions contained in the 2008 ResCap
    Amended LLC Agreement. See 2008 ResCap Amended LLC Agreement, §§ 17, 18 [KL000000433].
    Therefore, even if a breach of the duty of care can be sustained, absent any proof of willful misconduct or bad
    faith, such a claim will not prevail.
 252 Brandt v. Hicks, Muse & Co. (In re Healthco Int’l, Inc.), 208 B.R. 288, 305 (Bankr. D. Mass. 1997) (applying

    Delaware law.)
 253 See, e.g., Hollinger Int’l, Inc. v. Black, 844 A.2d 1022, 1084 (Del. Ch. 2004), aff’d, 872 A.2d 559 (Del. 2005)

    (dismissing a breach of fiduciary duty claim because defendant had sufficiently informed themselves by
    seeking advice of counsel). Notably, the defense may be overcome, but requires a showing that the directors
    failed to consider information “so obvious that the board’s failure to consider it was grossly negligent
    regardless of the expert’s advice or lack of advice.” Brehm v. Eisner, 746 A.2d 244, 262 (Del. 2000); see also
    Cal. Pub. Emps.’ Ret. Sys. v. Coulter, No. 19191, 2002 WL 31888343, at *12 (Del. Ch. Dec. 18, 2002)
    (director’s reliance on expert valuation report when approving acquisition was “grossly negligent” where
    “[e]ither the [directors] knew the report was based on grossly inaccurate data . . . or they worked very hard not
    to know that information”).
 254 See Int. of P. West, Apr. 16, 2013, at 55:22–57:23.

 255 See id. at 65:7–22.



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      Finally, the Examiner has considered whether the ResCap Board may have breached its
 duty of good faith, which is generally treated as being subsumed within the duty of loyalty.256
 A breach of duty of good faith may be found where:

                   1) the fiduciary intentionally acts with a purpose other than that
                   of advancing the best interests of the corporation; 2) where the
                   fiduciary acts with the intent to violate applicable positive law;
                   or 3) where the fiduciary intentionally fails to act in the face of a
                   known duty to act, demonstrating a conscious disregard for his
                   duties.257

      Here, there are facts that suggest that the ResCap Board’s decision to authorize ResCap
 to enter into the Second 2009 Tax Allocation Agreement was not done with the purpose of
 advancing the best interests of ResCap. As described above, the ResCap Board approved an
 agreement that: (1) counsel to the Independent Directors characterized originally as “very
 unfair,” (2) provided no basis for ResCap to get paid for AFI’s use of ResCap’s tax benefits,
 and (3) resulted in ResCap having to pay AFI taxes on account of excess inclusion income at a
 time when ResCap was in financial distress.

     Moreover, as discussed above, it is likely that the Second 2009 Tax Allocation
 Agreement would be found to be in violation of the 2006 Amended Operating Agreement,
 which further supports the conclusion that the agreement was not in the best interest of
 ResCap.

      On the other hand, the Investigation has uncovered no evidence that the ResCap Board
 intentionally acted against ResCap’s interests or intentionally disregarded its duties. To the
 contrary, the Independent Directors were advised by independent counsel who was tasked with
 reviewing and commenting on the Second 2009 Tax Allocation Agreement. The evidence
 establishes that counsel for the Independent Directors identified potential issues with the
 agreement and conveyed them to the Independent Directors. There is further evidence that
 counsel for the Independent Directors engaged in discussions with AFI about their concerns and
 pushed AFI hard to revise the agreement. Moreover, the evidence suggests that counsel for the
 Independent Directors ultimately became comfortable with the Second 2009 Tax Allocation
 Agreement after certain of its comments were incorporated into the agreement.

      Although counsel was not successful in remedying the lack of reciprocal payment
 obligations under the agreement, it appears that the Independent Directors were under the
 belief that Morrison Cohen’s comments that were incorporated into the agreement adequately
 256 See, e.g., Nagy v. Bistricer, 770 A.2d 43, 49 n.2 (Del. Ch. 2000) (“If it is useful at all as an independent

    concept, the good faith iteration’s utility may rest in its constant reminder (1) that a fiduciary may act
    disloyally for a variety of reasons other than personal pecuniary interest; and (2) that, regardless of his motive,
    a director who consciously disregards his duties to the corporation and its stockholders may suffer a personal
    judgment for monetary damages for any harm he causes.”).
 257 Burtch v. Seaport Capital, LLC (In re Direct Response Media, Inc.), 466 B.R. 626, 652 (Bankr. D. Del. 2012)

    (citing Brehm v. Eisner (In re Walt Disney Co. Derivative Litig.), 906 A.2d 27, 67 (Del. 2006)).

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 addressed any fairness concerns and made the agreement a “two-way street.”258 Although the
 correctness of the Independent Directors’ characterization of the Second 2009 Tax Allocation
 Agreement as being a “two-way street” is debatable, the Independent Directors relied on the
 advice of counsel and kept informed of the status of negotiations.

     In short, although certain aspects of the Second 2009 Tax Allocation Agreement are
 unfavorable to ResCap, the Examiner concludes that the evidence does not support the
 proposition that the ResCap Board intentionally flouted their duties or failed to advance
 ResCap’s interests.

      Based on the foregoing, while a close question, the Examiner concludes that it is more
 likely than not that a claim for breach of the fiduciary duty of good faith against the members
 of the ResCap Board would not prevail.259




 258 See Int. of P. West, Apr. 16, 2013, at 28:2–15, 90:6–91:24.

 259 Based on the fact that a claim for breach of fiduciary duty against the ResCap Board is unlikely to prevail, any

    related claim for aiding and abetting a breach of fiduciary duty against AFI would also fail. See Marino v.
    Grupo Mundial Tenedora, S.A., 810 F. Supp. 2d 601, 613 (S.D.N.Y. 2011); Official Comm. of Unsecured
    Creditors of Hydrogen, L.L.C. v. Blomen (In re Hydrogen, L.L.C.), 431 B.R. 337, 352 (Bankr. S.D.N.Y.
    2010). See Section VII.G.1 (providing a detailed discussion of claims based on aiding and abetting breach of
    fiduciary duty).

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